                        Case 20-33109 Document 66 Filed in TXSB on 07/03/20 Page 1 of 113




 Fill in this information to identify the case:

 Debtor name         Juniper Specialty Products LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF TEXAS

 Case number (if known)         20-33109
                                                                                                                                   Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                           12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                 Schedule H: Codebtors (Official Form 206H)

                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                 Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          July 3, 2020                            X /s/ John Baumgartner
                                                                       Signature of individual signing on behalf of debtor

                                                                       John Baumgartner
                                                                       Printed name

                                                                       CRO
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:

 Debtor name            Juniper Specialty Products LLC

 United States Bankruptcy Court for the:                       SOUTHERN DISTRICT OF TEXAS

 Case number (if known)               20-33109
                                                                                                                                                                                      Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $        1,530,042.78

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        1,530,042.78


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $       43,757,805.47


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$       16,460,926.43


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         60,218,731.90




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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 Fill in this information to identify the case:

 Debtor name          Juniper Specialty Products LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF TEXAS

 Case number (if known)         20-33109
                                                                                                                                       Check if this is an
                                                                                                                                        amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                       12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No.   Go to Part 2.
       Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                        debtor's interest

 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                             number


            3.1.     JP Morgan Chase                                        Checking                         3734                                  $728,404.73



 4.         Other cash equivalents (Identify all)

 5.         Total of Part 1.                                                                                                                   $728,404.73
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No.   Go to Part 3.
       Yes Fill in the information below.
 7.         Deposits, including security deposits and utility deposits
            Description, including name of holder of deposit


            7.1.     Entergy Services - Security Deposit for Utilities                                                                             $317,038.00




            7.2.     Saf-T-Box - Security Deposit for Storage Containers                                                                              $4,000.00




            7.3.     Arch Chemicals - Security Deposit on Lease Agreement                                                                             $5,000.00
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                            page 1
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 Debtor            Juniper Specialty Products LLC                                                  Case number (If known) 20-33109
                   Name




            7.4.    Wex Health - FSA Deposit                                                                                               $2,500.00



 8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
            Description, including name of holder of prepayment
                    Insurance through Aon Insurance. Contact was Ricky Wong, 5555 San Felipe, Suite
            8.1.    1500 Houston, Texas 77056. Phone number is 832-476-6528.                                                               Unknown



                    Property Insurance through AJ Gallagher. Broker was Stephen R. Whalley, address
            8.2.    1900 West Loop South, Suite 1600 Houston, TX, 77027. Phone number is 713.358.5744.                                     Unknown




            8.3.    Retainer with Porter Hedges                                                                                            Unknown




            8.4.    Firmex for dataroom for the month of June 2020.                                                                        $1,140.96




            8.5.    Prepaid Engineering Services with Ford, Bacon & Davis                                                              $281,375.55




            8.6.    June Rent on Lease at Munger Plant                                                                                     $3,319.00




            8.7.    Retainer with Kilmer Crosby & Quadros PLLC                                                                         $175,981.00




            8.8.    Retainer with Ford, Bacon & Davis                                                                                      Unknown




 9.         Total of Part 2.                                                                                                         $790,354.51
            Add lines 7 through 8. Copy the total to line 81.

 Part 3:    Accounts receivable
10. Does the debtor have any accounts receivable?

       No.   Go to Part 4.
       Yes Fill in the information below.
 11.        Accounts receivable


            11b. Over 90 days old:                                   11,283.54   -                               0.00 =....              $11,283.54
                                              face amount                            doubtful or uncollectible accounts




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 2
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                        Case 20-33109 Document 66 Filed in TXSB on 07/03/20 Page 5 of 113

 Debtor         Juniper Specialty Products LLC                                                Case number (If known) 20-33109
                Name


 12.       Total of Part 3.                                                                                                           $11,283.54
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

     No.    Go to Part 5.
     Yes Fill in the information below.
                                                                                                      Valuation method used     Current value of
                                                                                                      for current value         debtor's interest

 14.       Mutual funds or publicly traded stocks not included in Part 1
           Name of fund or stock:

 15.       Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
           partnership, or joint venture
           Name of entity:                                               % of ownership
                     Juniper Specialty Trading LLC (a Delaware
                     LLC
                     120 N. Munger St
           15.1.     Pasadena, TX 77506                                             100           %                                               $0.00



 16.       Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
           Describe:


 17.       Total of Part 4.                                                                                                                  $0.00
           Add lines 14 through 16. Copy the total to line 83.

 Part 5:    Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

     No.    Go to Part 6.
     Yes Fill in the information below.
           General description                        Date of the last        Net book value of       Valuation method used     Current value of
                                                      physical inventory      debtor's interest       for current value         debtor's interest
                                                                              (Where available)

 19.       Raw materials
           Catalyst and chemicals
           being held at
           Maplewood Storage                                                              Unknown                                           Unknown



 20.       Work in progress

 21.       Finished goods, including goods held for resale

 22.       Other inventory or supplies
           Reactor Wax at Slay
           Depot
           16643 Jacinto Road
           Houston, TX 77015                                                          $89,000.00                                            Unknown


           Heat Transfer Fluid held
           at DGM Services, Inc.
           1813 Greens Road
           Houston, TX 77032                                                         $385,000.00                                                  $0.00


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 3
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 Debtor         Juniper Specialty Products LLC                                                   Case number (If known) 20-33109
                Name



           Reactor Wax purchased
           from China B.T. held at
           Palmer Logistics                                                               Unknown                                              Unknown




 23.       Total of Part 5.                                                                                                                     $0.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
            No
            Yes
 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
            No
            Yes. Book value                                         Valuation method                       Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
            No
            Yes
 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     No.    Go to Part 7.
     Yes Fill in the information below.

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No.    Go to Part 8.
     Yes Fill in the information below.
           General description                                                   Net book value of      Valuation method used      Current value of
                                                                                 debtor's interest      for current value          debtor's interest
                                                                                 (Where available)

 39.       Office furniture
           Office Furniture (desks, chairs, misc items)                                   Unknown                                              Unknown



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Onsite server, electronics, computer and other
           telecommunications equipment                                                   Unknown                                              Unknown



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                                         $0.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
            No
            Yes
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                     page 4
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 Debtor         Juniper Specialty Products LLC                                                Case number (If known) 20-33109
                Name



 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
            No
            Yes
 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No.    Go to Part 9.
     Yes Fill in the information below.
           General description                                                Net book value of      Valuation method used      Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value          debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           Partially constructed GTL facility along with
           other components expected to be used in
           conjunction with completion of construction
           activities (motors, valves, electrical
           components, etc.) and items to be used once
           plant is operational (chemicals, catalyst, etc.)
           along with others tools/equipment used for
           maintenance and operational purposes.                                       Unknown                                              Unknown


           Certain lab equipment in the laboratory at 120
           N. Munger, Pasadena Texas, a facility leased
           by SGCE, was paid for by JSP. The equipment
           paid for by JSP is primarily in the two
           analytical sections of the lab.                                             Unknown                                              Unknown


           Control System held by Yokogowa
           Corporation of America at 12530 W. Airport
           Blvd, Sugar Land, Texas 77478. Only partially
           paid for.                                                                   Unknown                                              Unknown


           Firewater Pumps held by Flow-Tech Industries
           at 335 W. Crossroads Pkwy Suite B
           Bolingbrook, IL 60440. Only partially paid for.                             Unknown                                              Unknown


           Analyzers held by Technical Automation
           Services Company, Ltd. at 2000 NASA Rd 1,
           Seabrook, Texas 77586. Only partially paid for.                             Unknown                                              Unknown


           Chemical Skids held by ChemTreat Inc. Only
           partially paid for.                                                         Unknown                                              Unknown




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 5
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 Debtor         Juniper Specialty Products LLC                                                Case number (If known) 20-33109
                Name

           Breakers/MCC Electrical Components held by
           Eaton Corporation. Only partially paid for.                                 Unknown                                               Unknown


           Hot Oil/Aux Boiler Panels held by Prime
           Controls. Only partially paid for.                                          Unknown                                               Unknown


           Trip & throttle value for syngas compressor
           held by Elliot Company at 58035 Industrial
           Blvd, Plaquemine, Louisiana 70764                                           Unknown                                               Unknown


           Valves held by Quadex Valves Inc.                                           Unknown                                               Unknown


           Pumps held by Delta Process Equipment/DXP
           Enterprises, Inc.                                                           Unknown                                               Unknown




 51.       Total of Part 8.                                                                                                                   $0.00
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
            No
            Yes
 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
            No
            Yes
 Part 9:        Real property
54. Does the debtor own or lease any real property?

     No.    Go to Part 10.
     Yes Fill in the information below.
 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and          Net book value of       Valuation method used     Current value of
           property                                       extent of           debtor's interest       for current value         debtor's interest
           Include street address or other                debtor's interest   (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1. Juniper Plant and
                     Land
                     910 Interstate 10 W
                     Westlake, LA
                     parcel numbers:
                     01338234B,
                     01338234A &
                     01203916A                            Plant and Land           $3,200,000.00                                             Unknown




 56.       Total of Part 9.                                                                                                                     $0.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 6
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 Debtor         Juniper Specialty Products LLC                                                Case number (If known) 20-33109
                Name



 57.        Is a depreciation schedule available for any of the property listed in Part 9?
             No
             Yes
 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
             No
             Yes
 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

     No.    Go to Part 11.
     Yes Fill in the information below.
            General description                                               Net book value of      Valuation method used      Current value of
                                                                              debtor's interest      for current value          debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets
            Trademarks to Juniper name and logo                                        Unknown                                              Unknown



 61.        Internet domain names and websites
            various domain names.                                                      Unknown                                              Unknown



 62.        Licenses, franchises, and royalties
            UNITED STATES PATENT NO. 10,160,915.
            Internal file no. GI-0032-US-WD01                                          Unknown                                              Unknown


            CANADIAN PATENT NO. 2,951,037. Internal
            file no. GI-0033-CA-W01.                                                   Unknown                                              Unknown


            CANADIAN PATENT NO. 2,918,834. Internal file
            no. GI-0038-CA-W01.                                                        Unknown                                              Unknown


            Canadian Patent Application No. 2,987,543,
            "Methods, Systems and Apparatuses for Use
            of Carbon Dioxide in a Fischer-Tropsch
            System," with inventors INGA, Juan Ricardo;
            BONNELL, Leo, entering Canada as a National
            Phase application of the international
            application (above) on Nov. 14, 2017, pending.
            Inte                                                                       Unknown                                              Unknown


            License to buy from SGCE and to use at the
            plant an FT catalyst through the Second
            Amended and Restated Catalyst Site License
            Agreement, with subsequent amendments
            with Emerging Fuels Technology, Inc.                                       Unknown                                              Unknown


            IP license, supply and services from SGCE
            LLC under the XTLH SOLUTION LICENSE,
            SUPPLY AND SERVICES AGREEMENT."                                            Unknown                                              Unknown



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 7
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 Debtor         Juniper Specialty Products LLC                                               Case number (If known) 20-33109
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           US Provisional Patent Application No.
           62/005,102, Internal file no. GI-0032-US-P01.
           Expired but used as a basis for International
           Patent Application No. PCT/US2015/033233.                                   Unknown                                      Unknown


           International Patent Application No.
           PCT/US2015/033233, "METHODS, SYSTEMS,
           AND APPARATUSES FOR RECYCLING
           FISCHER-TROPSCH WATER AND
           FISCHER-TROPSCH TAIL GAS," Leo
           BONNELL, Miguel A.F. SANTOS, Scott
           GOLCZYNSKI, Bruce Allen LOGUE II, filed
           2015-05-29, claiming priority to US provisional
           patent application (above). Entered National
           Phase in US and Canada as described below.
           Internal file no. GI-0032-WO-01.                                            Unknown                                      Unknown


           UNITED STATES PATENT NO. 10,041,006.
           Internal file no. GI-0032-US-W01.                                           Unknown                                      Unknown


           US Provisional Patent Application No.
           62/008,301. Internal file no. GI-0033-US-P01.
           Expired but used as a basis for International
           Patent Application No. PCT/US2015/034216.                                   Unknown                                      Unknown


           International Patent Application No.
           PCT/US2015/034216, "Methods, Systems, and
           Apparatuses to Improve Processes of
           Increasing Fischer-Tropsch Catalyst Activity,"
           with inventors Gary Stephen FUTRAL and
           Govindarajan RAMAN, filed 2015-06-04,
           claiming priority to US provisional patent
           application (above). Internal file no.
           GI-0033-WO-01. Entered National Phase in US,
           Canada, Eurasia, Qatar, and Trinidad/Tobago,
           as described below.                                                         Unknown                                      Unknown


           US Provisional Patent Application No.
           61/868,509. Internal file no. GI-0038-US-P01.
           Expired but used as a basis for International
           Patent Application No. PCT/US2014/52052.                                    Unknown                                      Unknown


           UNITED STATES PATENT NO. 10,041,006.
           Internal file no. GI-0032-US-W01."                                          Unknown                                      Unknown


           International Patent Application No.
           PCT/US2014/52052, entitled "Methods,
           Systems and Apparatuses for Low
           Temperature, Low Pressure, Fischer-Tropsch
           Wax Hydrogenation," with inventors
           HEMMINGS, John William; INGA, Juan
           Ricardo, filed as 2014-08-21 claiming priority
           to US provisional patent application (above).
           Entered National Phase in US, Canada and
           European Patent Office as described below.
           Internal file no. GI-0038-WO-01.                                            Unknown                                      Unknown

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 8
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 Debtor         Juniper Specialty Products LLC                                               Case number (If known) 20-33109
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           US Patent Application Serial No. 14/904,122,
           "Methods, Systems and Apparatuses for Low
           Temperature, Low Pressure, Fischer-Tropsch
           Wax Hydrogenation," with inventors
           HEMMINGS, John William; INGA, Juan
           Ricardo, entering the US as a National Phase
           application of the international application
           (above) on Jan. 11, 2016, pending. Internal file
           no. GI-0038-US-W01.                                                         Unknown                                      Unknown


           US Provisional Patent Application No.
           62/168,743. Expired but used as a basis for
           International Patent Application No.
           PCT/US2016/34924. Internal file no.
           GI-0039-US-P01.                                                             Unknown                                      Unknown


           International Patent Application No.
           PCT/US2016/34924, entitled "Methods,
           Systems and Apparatuses for Use of Carbon
           Dioxide in a Fischer-Tropsch System," with
           inventors BONNELL, Leo, and INGA, Juan
           Ricardo; filed as 2016-05-31 claiming priority
           to US provisional patent application (above).
           Entered National Phase in US, Canada and
           Mexico as described below. Internal file no.
           GI-0032-WO-01.                                                              Unknown                                      Unknown


           US Patent Application Serial No. 15/577,520.
           Abandoned for failure to respond to an Office
           Action for lack of funds. Internal file no.
           GI-0039-US-W01.                                                             Unknown                                      Unknown


           US Patent Application Serial No. 16/188,721,
           filed as divisional of USSN 16,026,477.
           Pending. Internal file no. GI-0032-US-WD02.                                      $0.00                                         $0.00


           CANADIAN PATENT NO. 2,950,288. Internal file
           no. GI-0032-CA-W01.                                                              $0.00                                         $0.00


           EURASIAN PATENT NO. 34745. Paid fees for
           Russia. Internal file no. GI-0033-EA-W01.                                        $0.00                                         $0.00


           Qatar Patent Application No. QA/201612/00515
           - abandoned through unpaid annuities.
           Internal file no. GI-0033-QA-W01.                                                $0.00                                         $0.00


           Trinidad/Tobago Patent Application No.
           TT/A/2016/00121 - abandoned through unpaid
           annuities. Internal file no. GI-0033-TT-W01.                                     $0.00                                         $0.00



 63.       Customer lists, mailing lists, or other compilations

 64.       Other intangibles, or intellectual property

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 9
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 Debtor         Juniper Specialty Products LLC                                               Case number (If known) 20-33109
                Name



 65.        Goodwill

 66.        Total of Part 10.                                                                                                                 $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
             No
             Yes
 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
             No
             Yes
 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
             No
             Yes
 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No.    Go to Part 12.
     Yes Fill in the information below.
                                                                                                                               Current value of
                                                                                                                               debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)

 75.        Other contingent and unliquidated claims or causes of action of
            every nature, including counterclaims of the debtor and rights to
            set off claims

 76.        Trusts, equitable or future interests in property

 77.        Other property of any kind not already listed Examples: Season tickets,
            country club membership
            Right to repurchase former South African subsidary
            Juniperberry Cosmetics (pty) Ltd.                                                                                              Unknown




 78.        Total of Part 11.                                                                                                                 $0.00
            Add lines 71 through 77. Copy the total to line 90.

 79.        Has any of the property listed in Part 11 been appraised by a professional within the last year?
             No
             Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 10
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 Debtor          Juniper Specialty Products LLC                                                                      Case number (If known) 20-33109
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                          $728,404.73

 81. Deposits and prepayments. Copy line 9, Part 2.                                                               $790,354.51

 82. Accounts receivable. Copy line 12, Part 3.                                                                     $11,283.54

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                         $1,530,042.78            + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $1,530,042.78




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 11
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 Fill in this information to identify the case:

 Debtor name          Juniper Specialty Products LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF TEXAS

 Case number (if known)              20-33109
                                                                                                                                            Check if this is an
                                                                                                                                             amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                    12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                   Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                               Amount of claim             Value of collateral
                                                                                                                                               that supports this
                                                                                                                   Do not deduct the value     claim
                                                                                                                   of collateral.

 2.1
        Apache Industrial Services,
        Inc.                                          Describe debtor's property that is subject to a lien                    Unknown                  Unknown
        Creditor's Name                               Juniper Plant and Land
                                                      910 Interstate 10 W
                                                      Westlake, LA
        250 Assay St.                                 parcel numbers: 01338234B, 01338234A &
        Suite 500                                     01203916A
        Houston, TX 77044
        Creditor's mailing address                    Describe the lien
                                                      LA statute, L.A. R.S. 9:4801, et seq.
                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative
        priority.                                      Disputed
        1. Aptim Maintenance, LLC
        2. Excel Contractors, LLC
        3. Bronco Industrial
        Services, LLC
        4. Polaris Construction,
        Inc.
        5. Apache Industrial
        Services, Inc.
        6. CAVCO, Inc.
        7. Specialized Industrial
        Maintenance, Inc.
        8. Garrison Industrial
        Services, Inc.
        9. GS Global Supply LP

 2.2    Aptim Maintenance, LLC                        Describe debtor's property that is subject to a lien            $38,872,988.70                   Unknown



Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 6
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 Debtor       Juniper Specialty Products LLC                                                           Case number (if know)      20-33109
              Name

       Creditor's Name                                Juniper Plant and Land
                                                      910 Interstate 10 W
                                                      Westlake, LA
                                                      parcel numbers: 01338234B, 01338234A &
       4171 Essen Lane                                01203916A
       Baton Rouge, LA 70809
       Creditor's mailing address                     Describe the lien
                                                      LA statute, L.A. R.S. 9:4801, et seq.
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       April 2019                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
       priority.                                       Disputed
       Specified on line 2.1


 2.3
       Bronco Industrial Services,
       LLC                                            Describe debtor's property that is subject to a lien                     $193,321.64   Unknown
       Creditor's Name                                Juniper Plant and Land
                                                      910 Interstate 10 W
                                                      Westlake, LA
                                                      parcel numbers: 01338234B, 01338234A &
       P.O. Box 2040                                  01203916A
       Prairieville, LA 70769
       Creditor's mailing address                     Describe the lien
                                                      LA statute, L.A. R.S. 9:4801, et seq.
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       July 3, 2019                                    Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
       priority.                                       Disputed
       Specified on line 2.1

 2.4   CAVCO, Inc.                                    Describe debtor's property that is subject to a lien                     $548,603.00   Unknown
       Creditor's Name                                Juniper Plant and Land
                                                      910 Interstate 10 W
                                                      Westlake, LA
                                                      parcel numbers: 01338234B, 01338234A &
       400 Front Street                               01203916A
       Bon Air, AL 35302
       Creditor's mailing address                     Describe the lien
                                                      LA statute, L.A. R.S. 9:4801, et seq.
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                page 2 of 6
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 Debtor       Juniper Specialty Products LLC                                                           Case number (if know)     20-33109
              Name

                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
          Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative
       priority.
                                                       Disputed
       Specified on line 2.1

 2.5   Excel Contractors, LLC                         Describe debtor's property that is subject to a lien                 $3,053,071.37    Unknown
       Creditor's Name                                Juniper Plant and Land
                                                      910 Interstate 10 W
                                                      Westlake, LA
                                                      parcel numbers: 01338234B, 01338234A &
       8641 United Plaza Blvd                         01203916A
       Baton Rouge, LA 70809
       Creditor's mailing address                     Describe the lien
                                                      LA statute, L.A. R.S. 9:4801, et seq.
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.1


 2.6
       Garrison Industrial
       Services, Inc.                                 Describe debtor's property that is subject to a lien                     $36,769.00   Unknown
       Creditor's Name                                Juniper Plant and Land
                                                      910 Interstate 10 W
                                                      Westlake, LA
                                                      parcel numbers: 01338234B, 01338234A &
       1929 S. Southland AVe                          01203916A
       Gonzales, LA 70737
       Creditor's mailing address                     Describe the lien
                                                      LA statute, L.A. R.S. 9:4801, et seq.
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       August 19, 2019                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page 3 of 6
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 Debtor       Juniper Specialty Products LLC                                                           Case number (if know)      20-33109
              Name

        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
       priority.                                       Disputed
       Specified on line 2.1

 2.7   GS Global Supply LP                            Describe debtor's property that is subject to a lien                     $124,236.88   Unknown
       Creditor's Name                                Juniper Plant and Land
                                                      910 Interstate 10 W
                                                      Westlake, LA
                                                      parcel numbers: 01338234B, 01338234A &
       P.O. Box 3031                                  01203916A
       Beaumont, TX 77704
       Creditor's mailing address                     Describe the lien
                                                      LA statute, L.A. R.S. 9:4801, et seq.
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       August 10, 2019 (est)                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
       priority.                                       Disputed
       Specified on line 2.1

 2.8   Polaris Construction, Inc.                     Describe debtor's property that is subject to a lien                      $99,068.31   Unknown
       Creditor's Name                                Juniper Plant and Land
                                                      910 Interstate 10 W
                                                      Westlake, LA
                                                      parcel numbers: 01338234B, 01338234A &
       1139 Patton St.                                01203916A
       Sulphur, LA 70663
       Creditor's mailing address                     Describe the lien
                                                      LA statute, L.A. R.S. 9:4801, et seq.
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       July 26, 2019                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
       priority.                                       Disputed
       Specified on line 2.1


 2.9
       Specialized Industrial
       Maintenance, Inc.                              Describe debtor's property that is subject to a lien                     $829,746.57   Unknown




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                page 4 of 6
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 Debtor       Juniper Specialty Products LLC                                                           Case number (if know)       20-33109
              Name

       Creditor's Name                                Juniper Plant and Land
                                                      910 Interstate 10 W
                                                      Westlake, LA
                                                      parcel numbers: 01338234B, 01338234A &
       P.O. Box 91473                                 01203916A
       Chicago, IL 60693
       Creditor's mailing address                     Describe the lien
                                                      LA statute, L.A. R.S. 9:4801, et seq.
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
       priority.
                                                       Disputed
       Specified on line 2.1

                                                                                                                               $43,757,805.
 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                         47

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity
        Bronco Industrial Services, LLC
        Jerome F. Perque, Authorized Agent                                                                     Line   2.3
        5184 HWY 308
        Napoleonville, LA 70390

        CSC
        251 Little Falls Dr                                                                                    Line   2.5
        Wilmington, DE 19808

        HD Supply Construction Supply Ltd
        dba HD Supply Construction & Industrial                                                                Line   2.2
        901 Enterprise Blvd
        Suite 100
        Allen, TX 75013

        Jacob A. Altmyer
        Wray & Associates                                                                                      Line   2.3
        10182 Weevil Street
        P.O. Box 1848
        Saint Francisville, LA 70775

        Joseph R. Pousson, JR.
        Placuche, Smith & Nieset, LLC                                                                          Line   2.8
        1123 Pithons Street
        Lake Charles, LA 70601




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 5 of 6
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 Debtor       Juniper Specialty Products LLC                                             Case number (if know)   20-33109
              Name

        Kathryn N. Baird
        Andrew Myers                                                                            Line   2.1
        1885 Saint James Place
        15th Floor
        Houston, TX 77056

        Kelsey Kornick Funes
        Phelps Dunbar LLP                                                                       Line   2.2
        II City Plaza
        400 Convention St. Suite 1100
        Baton Rouge, LA 70802

        LEVELSET
        1121 Josephine St.                                                                      Line   2.6
        New Orleans, LA 70130

        LEVELSET
        9450 SW Gemini Dr #7790                                                                 Line   2.6
        Beaverton, OR 97008

        Mark C. Landry
        Newman, Mathis, Brady & Spedale                                                         Line   2.9
        433 Metairie Rd.
        Suite 600
        Metairie, LA 70005

        Phelps Dunbar LLP
        365 Canal Street                                                                        Line   2.2
        New Orleans, LA 70130

        Stockwell Sievert
        One Lakeside Plaza, 4th Floor                                                           Line   2.7
        127 West Broad Street
        Lake Charles, LA 70601

        Sylvion S. Moss
        Law Works, LLC                                                                          Line   2.4
        2100 1st Avenue North
        Suite 600
        Birmingham, AL 35203




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                 page 6 of 6
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 Fill in this information to identify the case:

 Debtor name         Juniper Specialty Products LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF TEXAS

 Case number (if known)          20-33109
                                                                                                                                                      Check if this is an
                                                                                                                                                       amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                      12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.

 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                    $19,549.48
           ABB Inc.                                                           Contingent
           305 Gregson Dr                                                     Unliquidated
           Cary, NC 27511                                                     Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                    $18,556.71
           Accutrol, LLC                                                      Contingent
           284 N. Post Oak Rd.                                                Unliquidated
           Sulphur, LA 70663                                                  Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Materials
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                    $50,743.20
           aeSolutions                                                        Contingent
           P.O. Box 26566                                                     Unliquidated
           Greenville, SC 29616                                               Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                    $14,315.02
           AGI Indudtries, Inc.                                               Contingent
           2110 SW Evangeline Thruway                                         Unliquidated
           Lafayette, LA 70508                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                       page 1 of 12
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 Debtor       Juniper Specialty Products LLC                                                          Case number (if known)            20-33109
              Name

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $93,981.09
          Airswift                                                            Contingent
          3050 Post Oak Blvd., Ste. 1450                                      Unliquidated
          Houston, TX 77056                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,885.00
          Akin Gump Strauss Hauer & Feld, LLP                                 Contingent
          One Bryant Park                                                     Unliquidated
          New York, NY 10036                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    JSP Supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $82,400.00
          American Arbitration Association
          Case Filing Services                                                Contingent
          1101 Laurel Oak Rd.                                                 Unliquidated
          Suite. 100                                                          Disputed
          Voorhees, NJ 08043
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,389.45
          Arch Chemicals, Inc.                                                Contingent
          960 I-10 West                                                       Unliquidated
          Westlake, LA 70669                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $55,247.15
          Bandini Enterprises, Inc.                                           Contingent
          12301 Kurland Dr., 250                                              Unliquidated
          Houston, TX 77034                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,331.43
          BBP Sales, LLC                                                      Contingent
          337 Highlandia Dr                                                   Unliquidated
          Baton Rouge, LA 70810                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $28,609.43
          Bio-Lab, Inc.                                                       Contingent
          1725 North Brown Rd                                                 Unliquidated
          Lawrenceville, GA 30049                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Master Site License Agreement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 2 of 12
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 Debtor       Juniper Specialty Products LLC                                                          Case number (if known)            20-33109
              Name

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,941.50
          Boulware & Valoir                                                   Contingent
          2603 August, Ste. 1350                                              Unliquidated
          Houston, TX 77057                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $34,380.00
          Caliber Valve and Controls LLC                                      Contingent
          6896 Hwy 90 East                                                    Unliquidated
          Lake Charles, LA 70615                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $797.00
          ChemTreat, Inc.                                                     Contingent
          15045 Collections Center Dr                                         Unliquidated
          Chicago, IL 60693                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,671.61
          Cintas Corporation                                                  Contingent
          P.O. Box 650838                                                     Unliquidated
          Dallas, TX 75265                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,052.72
          Coastal Welding                                                     Contingent
          P.O. Box 3029                                                       Unliquidated
          Beaumont, TX 77704                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,232.16
          Contextualize (Pty) Ltd
          27 Beach Road                                                       Contingent
          Wavecrest Apts. #802                                                Unliquidated
          Strand, Western Cape 7140                                           Disputed
          South Africa
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,259.21
          COSA Xentaur Corp                                                   Contingent
          84H Horseblock Rd                                                   Unliquidated
          Yaphank, NY 11980                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Restock fee for equipment vendor took back
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No     Yes




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 Debtor       Juniper Specialty Products LLC                                                          Case number (if known)            20-33109
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 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,185.00
          CSC - Corporation Service Company                                   Contingent
          PO Box 13397                                                        Unliquidated
          Philadelphia, PA 19101                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    JSP Supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,160.00
          Dashiell Corporation                                                Contingent
          12301 Kurland Dr, Ste. 400                                          Unliquidated
          Houston, TX 77034                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $24,096.77
          Delta Terminal Services LLC                                         Contingent
          1001 Louisiana Street, St. 1000                                     Unliquidated
          Houston, TX 77002                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Service Agreement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,233.00
          DGM Services, Inc.                                                  Contingent
          1813 Greens Rd                                                      Unliquidated
          Houston, TX 77032                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,232.00
          Divann Robertson                                                    Contingent
          332 High Street                                                     Unliquidated
          Malmesbury 7301                                                     Disputed
          South Africa
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $93,267.27
          DXP                                                                 Contingent
          110 KOL Dr                                                          Unliquidated
          Broussard, LA 70518                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $290,248.14
          Eaton Corporation                                                   Contingent
          1000 Cherrington Pkwy                                               Unliquidated
          Moon Township, PA 15108                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Juniper Specialty Products LLC                                                          Case number (if known)            20-33109
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 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $320,087.40
          Entergy Services                                                    Contingent
          P.O. Box 8103                                                       Unliquidated
          Baton Rouge, LA 70891                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2986
                                                                             Is the claim subject to offset?    No  Yes
 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $28,800.00
          Excel Maintenance Services, Inc.                                    Contingent
          8641 United Plaza Blvd.                                             Unliquidated
          Baton Rouge, LA 70809                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $32,343.01
          Fisher Controls International LLC                                   Contingent
          205 South Center Street                                             Unliquidated
          P.O. Box 190                                                        Disputed
          Marshalltown, IA 50158
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $116,950.81
          Flow-Tech Industries, Inc.                                          Contingent
          8700 Jameel, Ste. 100                                               Unliquidated
          Houston, TX 77041                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,000.00
          Francis X Brady                                                     Contingent
          108 Genesee Lane                                                    Unliquidated
          Madison, CT 06443                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $32,764.24
          Garrison Industrial Services, Inc.                                  Contingent
          315 Ellender St.                                                    Unliquidated
          Sulphur, LA 70663                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,125.00
          Genesis Venture Logistics                                           Contingent
          10 St. Ann Dr                                                       Unliquidated
          Mandeville, LA 70471                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Master Services Agreement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Juniper Specialty Products LLC                                                          Case number (if known)            20-33109
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 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,928.80
          Gibson Applied Technology & Engineering                             Contingent
          Attn: Steve Guy                                                     Unliquidated
          16360 Park Ten Place, Ste. 206                                      Disputed
          Houston, TX 77084
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $19,386.26
          Greenberg Traurig LLP                                               Contingent
          1000 Louisiana, Ste. 1700                                           Unliquidated
          Houston, TX 77002                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    JSP Supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,223.73
          Herc Rentals Inc.                                                   Contingent
          27500 Riverview Center Blvd                                         Unliquidated
          Bonita Springs, FL 34134                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $170,064.50
          Hunter Buildings & Manufacturing LP                                 Contingent
          14935 Jacinto Port Blvd                                             Unliquidated
          Houston, TX 77015                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $65.23
          Infinisource, Inc.                                                  Contingent
          P.O. Box 889                                                        Unliquidated
          Coldwater, MI 49036                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $38,266.74
          International Alliance Group                                        Contingent
          3657 Briarpark                                                      Unliquidated
          Houston, TX 77042                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $278,072.00
          Jacobs Engineering Group Inc.                                       Contingent
          1999 Bryan Street, Ste. 1200                                        Unliquidated
          Dallas, TX 75201                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Juniper Specialty Products LLC                                                          Case number (if known)            20-33109
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 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $45,547.76
          John H. Carter Inc.                                                 Contingent
          17630 Perkins Rd                                                    Unliquidated
          Baton Rouge, LA 70810                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,624.50
          Kean Miller LLP                                                     Contingent
          400 Convention St., Ste. 700                                        Unliquidated
          Baton Rouge, LA 70821                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $26,402.50
          Kline & Company Inc.                                                Contingent
          35 Waterview Blvd.                                                  Unliquidated
          Parsippany, NJ 07054                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $21,153.00
          Leidos Engineering, LLC                                             Contingent
          550 Cochituate Rd                                                   Unliquidated
          West Wing, 4th FLoor                                                Disputed
          Framingham, MA 01701
                                                                                            Prepared Independent Engineer's Report for JSP re
                                                                             Basis for the claim:
          Date(s) debt was incurred
                                                                             Juniper SP GTL Facility Fihnal R3
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $16,953.61
          Louisiana Radio Communications Inc.                                 Contingent
          P.O. Box 3143                                                       Unliquidated
          Lake Charles, LA 70602                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $15,894.00
          Maplewood Industrial                                                Contingent
          5175 Maplewood Dr                                                   Unliquidated
          Sulphur, LA 70663                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Off-premises storage
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $47,540.00
          Middough, Inc.                                                      Contingent
          1901 East 13th St., Ste. 400                                        Unliquidated
          Cleveland, OH 44114                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,123.95
          Mobile Mini Storage Solutions                                       Contingent
          4646 East Van Buren                                                 Unliquidated
          Phoenix, AZ 85008                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,425.00
          Newport Tank Containers (USA) LLC                                   Contingent
          1340 Depot Street                                                   Unliquidated
          Rocky River, OH 44116                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $35,025.00
          Pannell Kerr Forster of Texas, P.C.                                 Contingent
          5847 San Felipe, Ste. 2600                                          Unliquidated
          Houston, TX 77057                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $150,493.75
          Petroplan USA LLC                                                   Contingent
          3151 Briarpark Dr. #1250                                            Unliquidated
          Houston, TX 77042                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $64,625.32
          Praxair, Inc.                                                       Contingent
          175 East Park Dr                                                    Unliquidated
          Tonawanda, NY 14150                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Product Supply Agreement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $57,330.00
          Prime Controls LP                                                   Contingent
          1725 Lakepointe Dr                                                  Unliquidated
          Lewisville, TX 75057                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    JSP Supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $25,120.33
          Process Technical Services, LLC                                     Contingent
          14550 Torrey Chase Blvd. #220                                       Unliquidated
          Houston, TX 77014                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $1,319,399.19
          ReCon Management Services, Inc.                                     Contingent
          1907 Ruth Street                                                    Unliquidated
          Sulphur, LA 70663                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Purchase Orders
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $1,810,000.00
          Richard Construction, Inc.                                          Contingent
          750 Pearl St.                                                       Unliquidated
          Beaumont, TX 77701
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $8,014,378.43
          Richard Design Services, Inc.                                       Contingent
          750 Pearl Street                                                    Unliquidated
          Beaumont, TX 77701
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $21,634.43
          Rosemount Inc                                                       Contingent
          8200 Market Blvd                                                    Unliquidated
          Chanhassen, MN 55317                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $23,407.81
          Rural/Metro Fire Dept. Inc                                          Contingent
          8465 N. Pima Rd                                                     Unliquidated
          Scottsdale, AZ 85258                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $34,164.00
          Sabine River Authority of LA                                        Contingent
          15091 Texas Hwy                                                     Unliquidated
          Many, LA 71449                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,775.00
          Safety Concepts LLC                                                 Contingent
          2849 Bergstedt Rd                                                   Unliquidated
          Sulphur, LA 70665                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $41,420.60
          Safety Controls, Inc                                                Contingent
          P.O. Box 61280                                                      Unliquidated
          Lafayette, LA 70596                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,517.75
          Satellite Shelters, Inc.                                            Contingent
          2530 Xenium Lane North, Ste. 150                                    Unliquidated
          Minneapolis, MN 55441                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $127,526.58
          Setpoint Integrated Solutions, Inc.                                 Contingent
          19011 Highland Rd                                                   Unliquidated
          Baton Rouge, LA 70809                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $1,893,879.99
          SGCE LLC                                                            Contingent
          120 N. Munger Street                                                Unliquidated
          Pasadena, TX 77506                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Stellenbosch University
          Debtors Department                                                  Contingent
          Private Bag X1,                                                     Unliquidated
          Matieland, 7602                                                     Disputed
          Stellenbosch, South Africa
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $86,630.14
          Stolthaven New Orleans, LLC                                         Contingent
          15635 Jacintoport Blvd.                                             Unliquidated
          Houston, TX 77015                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Purchase Orders
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $40,225.29
          Team Industrial Services, Inc.                                      Contingent
          215 N. Beglis Pkwy                                                  Unliquidated
          Sulphur, LA 70663                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Juniper Specialty Products LLC                                                          Case number (if known)            20-33109
              Name

 3.68      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $37,284.00
           Technical Automation Services Co, LTD                              Contingent
           2000 Nasa Parkway                                                  Unliquidated
           Seabrook, TX 77586                                                 Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    JSP Supplier
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.69      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $4,591.70
           Teledyne Instruments, Inc.                                         Contingent
           16830 Chestnut Street                                              Unliquidated
           City of Industry, CA 91748                                         Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.70      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $161,324.10
           Testengeer, Inc.                                                   Contingent
           P.O. Box 557                                                       Unliquidated
           Port Lavaca, TX 77979                                              Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.71      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $7,723.56
           Weiser Security Services Inc.                                      Contingent
           3939 Tulane Ave                                                    Unliquidated
           New Orleans, LA 70119                                              Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.72      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $92,899.50
           White & Case LLP                                                   Contingent
           1200 Smith Street, Ste. 2300                                       Unliquidated
           Houston, TX 77002-4403                                             Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Attorney Fees
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.73      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $23,942.99
           Wolseley Industrial Group                                          Contingent
           12500 Jefferson Ave.                                               Unliquidated
           Newport News, VA 23602-4314                                        Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.74      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $251,100.59
           Yokogawa Corporation of American                                   Contingent
           2 Dart Rd                                                          Unliquidated
           Newnan, GA 30265                                                   Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

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 Debtor       Juniper Specialty Products LLC                                                      Case number (if known)           20-33109
              Name


           Name and mailing address                                                              On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                 related creditor (if any) listed?              account number, if
                                                                                                                                                any
 4.1       Gabe Gotwals
           1100 OneOK Plaze                                                                      Line      3.56
           100 West 5th St.
           Tulsa, OK 74103                                                                             Not listed. Explain


 4.2       Gabe Gotwals
           1100 OneOK Plaze                                                                      Line      3.55
           100 West 5th St.
           Tulsa, OK 74103                                                                             Not listed. Explain


 4.3       Gregg Dasher
           Dasher Law Offices                                                                    Line      3.50
           P.O. Box 572538
           Houston, TX 77257                                                                           Not listed. Explain


 4.4       Gregory P. Marceaux
           Marceaux Law Firm LLC                                                                 Line      3.2
           2901 Hodges Street
           Lake Charles, LA 70601                                                                      Not listed. Explain


 4.5       O'Melveny & Myers LLP
           Attn: Brian Kenyon, Esq.                                                              Line      3.11
           400 S. Hope Street
           18th Floor                                                                                  Not listed. Explain

           Los Angeles, CA 90071

 4.6       Stanley M. Hammerman
           3101 N. Central                                                                       Line      3.58
           Suite 1030
           Phoenix, AZ 85012                                                                           Not listed. Explain


 4.7       Stolt-Nielsen USA Inc.
           Attn: Legal Department                                                                Line      3.66
           15635 Jacintoport Blvd
           Houston, TX 77015                                                                           Not listed. Explain


 4.8       Stolthaven New Orleans LLC
           2444 English Turn Road                                                                Line      3.66
           Braithwaite, LA 70040
                                                                                                       Not listed. Explain


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                      Total of claim amounts
 5a. Total claims from Part 1                                                                        5a.          $                         0.00
 5b. Total claims from Part 2                                                                        5b.    +     $                16,460,926.43
 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                             5c.          $                   16,460,926.43




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 Fill in this information to identify the case:

 Debtor name         Juniper Specialty Products LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF TEXAS

 Case number (if known)         20-33109
                                                                                                                                    Check if this is an
                                                                                                                                     amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.      Does the debtor have any executory contracts or unexpired leases?
         No. Check this box and file this form with the debtor's other schedules.   There is nothing else to report on this form.
         Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal            Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1.         State what the contract or                  Purchase Order
              lease is for and the nature of
              the debtor's interest

                  State the term remaining
                                                                                      24 Hour Safety LLC
              List the contract number of any                                         4912 Railroad
                    government contract                                               Deer Park, TX 77536


 2.2.         State what the contract or                  Purchase Order
              lease is for and the nature of
              the debtor's interest

                  State the term remaining
                                                                                      24 Hour Safety LLC
              List the contract number of any                                         4912 Railroad
                    government contract                                               Deer Park, TX 77536


 2.3.         State what the contract or                  Purchase Order
              lease is for and the nature of
              the debtor's interest

                  State the term remaining
                                                                                      ABB Inc
              List the contract number of any                                         3700 W. Sam Houston Pkwy South
                    government contract                                               Houston, TX 77042


 2.4.         State what the contract or                  Consulting Agreement
              lease is for and the nature of              and NDA
              the debtor's interest

                  State the term remaining
                                                                                      ABSG Consulting
              List the contract number of any                                         1701 City Plaza Dr
                    government contract                                               Spring, TX 77389




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 Debtor 1 Juniper Specialty Products LLC                                                      Case number (if known)   20-33109
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.5.        State what the contract or                   Manufacturing of
             lease is for and the nature of               Steam Guard
             the debtor's interest                        Condensate Drum

                  State the term remaining
                                                                                      Acadian Contractors, Inc.
             List the contract number of any                                          17102 West LA Hwy 330
                   government contract                                                Abbeville, LA 70511


 2.6.        State what the contract or                   Equipment Terms
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      Acadian Contractors, Inc.
             List the contract number of any                                          17102 West LA Hwy 330
                   government contract                                                Abbeville, LA 70511


 2.7.        State what the contract or                   PAD for PO 10068
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      Acadian Contractors, Inc.
             List the contract number of any                                          17102 West LA Hwy 330
                   government contract                                                Abbeville, LA 70511


 2.8.        State what the contract or                   PAD for PO 10068 Rev.
             lease is for and the nature of               1
             the debtor's interest

                  State the term remaining
                                                                                      Acadian Contractors, Inc.
             List the contract number of any                                          17102 West LA Hwy 330
                   government contract                                                Abbeville, LA 70511


 2.9.        State what the contract or                   NDA
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      Acconda L.P.dba Aqua Drill International
             List the contract number of any                                          1300 FM 646 West
                   government contract                                                Dickinson, TX 77539


 2.10.       State what the contract or                   Construction Contract
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                            Accutrol, LLC
                                                                                      284 N. Poast Oak Rd.
             List the contract number of any                                          Sulphur, LA 70663
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                  Page 2 of 81
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 Debtor 1 Juniper Specialty Products LLC                                                      Case number (if known)   20-33109
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

                    government contract


 2.11.       State what the contract or                   Terms and Conditions
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Through service
                                                          (incorporated into
                                                          PO's)                       Accutrol, LLC
             List the contract number of any                                          284 N. Poast Oak Rd.
                   government contract                                                Sulphur, LA 70663


 2.12.       State what the contract or                   PAP for PO 10157 Rev.
             lease is for and the nature of               1
             the debtor's interest

                  State the term remaining                Through service
                                                          (incorporated into
                                                          PO's)                       Accutrol, LLC
             List the contract number of any                                          284 N. Poast Oak Rd.
                   government contract                                                Sulphur, LA 70663


 2.13.       State what the contract or                   PAP for PO 10113 Rev.
             lease is for and the nature of               2
             the debtor's interest

                  State the term remaining                Through service
                                                          (incorporated into
                                                          PO's)                       Accutrol, LLC
             List the contract number of any                                          284 N. Poast Oak Rd.
                   government contract                                                Sulphur, LA 70663


 2.14.       State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      Accutrol, LLC
             List the contract number of any                                          284 N. Poast Oak Rd.
                   government contract                                                Sulphur, LA 70663


 2.15.       State what the contract or                   NDA
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      Action Industries
             List the contract number of any                                          767 Highway 70
                   government contract                                                Belle Rose, LA 70341




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 Debtor 1 Juniper Specialty Products LLC                                                     Case number (if known)   20-33109
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.16.       State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     aeSolutions
             List the contract number of any                                         PO Box 26566
                   government contract                                               Greenville, SC 29616


 2.17.       State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     aeSolutions
             List the contract number of any                                         PO Box 26566
                   government contract                                               Greenville, SC 29616


 2.18.       State what the contract or                   NDA
             lease is for and the nature of
             the debtor's interest
                                                                                     Aguilar and Salas SA
                  State the term remaining                                           Pol. Industrial Pla de Llerona
                                                                                     C/Irlanda, 6, 08520
             List the contract number of any                                         Les Franquese del Valles
                   government contract                                               Barcelona, Spain


 2.19.       State what the contract or                   Equipment Sale T&Cs
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Amended 05/15/2014         Air Liquide
                                                                                     9811 Katy Freeway
             List the contract number of any                                         Suite 100
                   government contract                                               Houston, TX 77024


 2.20.       State what the contract or                   Equipment Field
             lease is for and the nature of               Services Agreement
             the debtor's interest

                  State the term remaining                                           Air Liquide
                                                                                     9811 Katy Freeway
             List the contract number of any                                         Suite 100
                   government contract                                               Houston, TX 77024


 2.21.       State what the contract or                   Amendment to the
             lease is for and the nature of               Purchase Order Terms
             the debtor's interest                        and Conditions of
                                                          Sales                      Air Liquide
                  State the term remaining                In effect until            9811 Katy Freeway
                                                          terminated with 6- days    Suite 100
                                                          written notice or until    Houston, TX 77024
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 Debtor 1 Juniper Specialty Products LLC                                                       Case number (if known)   20-33109
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

                                                          all Services Performed
             List the contract number of any
                   government contract


 2.22.       State what the contract or                   PAP for PO No. 921
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                In effect until
                                                          terminated with 6- days
                                                          written notice or until      Air Liquide
                                                          all Services Performed       9811 Katy Freeway
             List the contract number of any                                           Suite 100
                   government contract                                                 Houston, TX 77024


 2.23.       State what the contract or                   PAP for PO No. 921
             lease is for and the nature of               Rev. 1
             the debtor's interest

                  State the term remaining                                             Air Liquide
                                                                                       9811 Katy Freeway
             List the contract number of any                                           Suite 100
                   government contract                                                 Houston, TX 77024


 2.24.       State what the contract or                   PAP for PO No. 921
             lease is for and the nature of               Rev. 2
             the debtor's interest

                  State the term remaining                                             Air Liquide
                                                                                       9811 Katy Freeway
             List the contract number of any                                           Suite 100
                   government contract                                                 Houston, TX 77024


 2.25.       State what the contract or                   PAP for PO No. 921
             lease is for and the nature of               Rev. 3
             the debtor's interest

                  State the term remaining                                             Air Liquide
                                                                                       9811 Katy Freeway
             List the contract number of any                                           Suite 100
                   government contract                                                 Houston, TX 77024


 2.26.       State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                       Air Liquide Advanced Separations
             List the contract number of any                                           2700 Post Oak Blvd, Suite 325
                   government contract                                                 Houston, TX 77056


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 Debtor 1 Juniper Specialty Products LLC                                                      Case number (if known)   20-33109
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.27.       State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                            Airswift
                                                                                      3050 Post Oak Boulevard
             List the contract number of any                                          Suite 1450
                   government contract                                                Houston, TX 77056


 2.28.       State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                            Airswift
                                                                                      3050 Post Oak Boulevard
             List the contract number of any                                          Suite 1450
                   government contract                                                Houston, TX 77056


 2.29.       State what the contract or                   Consulting Agreement
             lease is for and the nature of               between Aldo Benetti
             the debtor's interest                        and RD Juniper LLC
                                                                                      Aldo Benetti
                  State the term remaining                                            4 Wipers Rd
                                                                                      Klippoortje
             List the contract number of any                                          Gauteng
                   government contract                                                South Africa


 2.30.       State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest
                                                                                      Aldo Benetti
                  State the term remaining                                            4 Wipers Rd
                                                                                      Klippoortje
             List the contract number of any                                          Gauteng
                   government contract                                                South Africa


 2.31.       State what the contract or                   Legal Services
             lease is for and the nature of               Agreement between
             the debtor's interest                        Allan Tiller PLLC and
                                                          RD Juniper LLC
                  State the term remaining                                            Allan Tiller PLLC
                                                                                      712 Main St
             List the contract number of any                                          Suite 1100
                   government contract                                                Houston, TX 77002


 2.32.       State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                            Alpha Process Sales Inc
                                                                                      7011 Exchequer Drive
             List the contract number of any                                          Baton Rouge, LA 70809
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 Debtor 1 Juniper Specialty Products LLC                                                         Case number (if known)   20-33109
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

                    government contract


 2.33.       State what the contract or                   Lab Services and
             lease is for and the nature of               Preparatory Research
             the debtor's interest                        and Development
                                                          Services Agreement
                  State the term remaining
                                                                                         Alpha Wax USA Corp.
             List the contract number of any                                             1209 Orange St.
                   government contract                                                   Wilmington, DE 19801


 2.34.       State what the contract or                   Offtake Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                         Alpha Wax USA Corp.
             List the contract number of any                                             1209 Orange St.
                   government contract                                                   Wilmington, DE 19801


 2.35.       State what the contract or                   Product Sale and
             lease is for and the nature of               Purchase Contract
             the debtor's interest

                  State the term remaining                72 months after
                                                          Commencement Date              Alpha Wax USA Corp.
             List the contract number of any                                             1209 Orange St.
                   government contract                                                   Wilmington, DE 19801


 2.36.       State what the contract or                   Offtake Agreement
             lease is for and the nature of               Amendment
             the debtor's interest

                  State the term remaining                See product sale and
                                                          purchase contract              Alpha Wax USA Corp.
             List the contract number of any                                             1209 Orange St.
                   government contract                                                   Wilmington, DE 19801


 2.37.       State what the contract or                   Clarification Letter for
             lease is for and the nature of               Offtake Agreement
             the debtor's interest

                  State the term remaining                See product sale and
                                                          purchase contract              Alpha Wax USA Corp.
             List the contract number of any                                             1209 Orange St.
                   government contract                                                   Wilmington, DE 19801


 2.38.       State what the contract or                   Construction Contract
             lease is for and the nature of                                              American Tank & Vessel, Inc.
             the debtor's interest                                                       1005 Government St.
                                                                                         Mobile, AL 36604
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 Debtor 1 Juniper Specialty Products LLC                                                     Case number (if known)   20-33109
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.39.       State what the contract or                   PAP for PO 10054
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Indefinite
                                                                                     American Tank & Vessel, Inc.
             List the contract number of any                                         1005 Government St.
                   government contract                                               Mobile, AL 36604


 2.40.       State what the contract or                   PAP for PO 10065
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Through service
                                                                                     American Tank & Vessel, Inc.
             List the contract number of any                                         1005 Government St.
                   government contract                                               Mobile, AL 36604


 2.41.       State what the contract or                   PAP for PO 10055
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Through service
                                                                                     American Tank & Vessel, Inc.
             List the contract number of any                                         1005 Government St.
                   government contract                                               Mobile, AL 36604


 2.42.       State what the contract or                   Terms and Conditions
             lease is for and the nature of               for PO's
             the debtor's interest

                  State the term remaining
                                                                                     American Tank & Vessel, Inc.
             List the contract number of any                                         1005 Government St.
                   government contract                                               Mobile, AL 36604


 2.43.       State what the contract or                   Consulting Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Anil Shrivastav
             List the contract number of any                                         6418 Kendall Creek Drive
                   government contract                                               Sugar Land, TX 77479




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 Debtor 1 Juniper Specialty Products LLC                                                      Case number (if known)   20-33109
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.44.       State what the contract or                   Legal Services
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining
                                                                                      Ann McWatters, Esq.
             List the contract number of any                                          21527 Aurora Park Dr
                   government contract                                                Richmond, TX 77406


 2.45.       State what the contract or                   Construction and
             lease is for and the nature of               Services Contract
             the debtor's interest

                  State the term remaining                                            Apache Industrial Services, Inc.
                                                                                      250 Assay St.
             List the contract number of any                                          Suite 500
                   government contract                                                Houston, TX 77044


 2.46.       State what the contract or                   Construction Contract
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      Aptim Maintenance, LLC
             List the contract number of any                                          4171 Essen Lane
                   government contract                                                Baton Rouge, LA 70809


 2.47.       State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      Aptim Maintenance, LLC
             List the contract number of any                                          4171 Essen Lane
                   government contract                                                Baton Rouge, LA 70809


 2.48.       State what the contract or                   Debtor leases approx.
             lease is for and the nature of               4,775 RSF and 50% of
             the debtor's interest                        parking area at the
                                                          ARCH Chemicals Bldg.
                                                          Contract
                  State the term remaining                3 yrs (est)
                                                                                      ARCH Chemicals, Inc.
             List the contract number of any                                          960 I-10 Service Road
                   government contract                                                Westlake, LA 70669


 2.49.       State what the contract or                   Services Agreement
             lease is for and the nature of
             the debtor's interest
                                                                                      AT&T
                  State the term remaining                                            PO Box 5019
                                                                                      Carol Stream, IL 60197
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

             List the contract number of any
                   government contract


 2.50.       State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           Baker Engineering and Risk Consultants,
                                                                                     11011 Richmond Avenue
             List the contract number of any                                         Suite 700
                   government contract                                               Houston, TX 77042


 2.51.       State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           Baker Engineering and Risk Consultants,
                                                                                     11011 Richmond Avenue
             List the contract number of any                                         Suite 700
                   government contract                                               Houston, TX 77042


 2.52.       State what the contract or                   Master Services
             lease is for and the nature of               Agreement between
             the debtor's interest                        Bandini Enterprises
                                                          Inc. and RD Juniper
                                                          LLC
                  State the term remaining                                           Bandini Enterprises Inc.
                                                                                     12301 Kurland Drive
             List the contract number of any                                         Suite 250
                   government contract                                               Houston, TX 77034


 2.53.       State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           Bandini Enterprises Inc.
                                                                                     12301 Kurland Drive
             List the contract number of any                                         Suite 250
                   government contract                                               Houston, TX 77034


 2.54.       State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     BBP Sales, LLC
             List the contract number of any                                         337 Highlandia Dr
                   government contract                                               Baton Rouge, LA 70810




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.55.       State what the contract or                   Master Site License
             lease is for and the nature of               Agreement between
             the debtor's interest                        Bio-Lab, Inc. and
                                                          Juniper Specialty
                                                          Products LLC dated
                                                          Nov. 27, 2018              Bio-Lab, Inc.
                  State the term remaining                                           c/o KIK Custom Products
                                                                                     101 MacIntosh Blvd
             List the contract number of any                                         Concord, ON L4K 4R5
                   government contract


 2.56.       State what the contract or                   Access Agreement for
             lease is for and the nature of               Construction
             the debtor's interest
                                                                                     Bio-Lab, Inc.
                  State the term remaining                                           c/o KIK Custom Products
                                                                                     101 MacIntosh Blvd
             List the contract number of any                                         Concord, ON L4K 4R5
                   government contract


 2.57.       State what the contract or                   Second Amendment to
             lease is for and the nature of               Parking Access
             the debtor's interest                        Agreement
                                                                                     Bio-Lab, Inc.
                  State the term remaining                                           c/o KIK Custom Products
                                                                                     101 MacIntosh Blvd
             List the contract number of any                                         Concord, ON L4K 4R5
                   government contract


 2.58.       State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Boot Barn
             List the contract number of any                                         15345 Barranca Parkway
                   government contract                                               Irvine, CA 92618


 2.59.       State what the contract or                   Legal Engagement
             lease is for and the nature of               Letter
             the debtor's interest

                  State the term remaining                                           Boulware & Valoir
                                                                                     2603 August
             List the contract number of any                                         Suite 1350
                   government contract                                               Houston, TX 77057




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 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.60.       State what the contract or                   Base Contract for Sale
             lease is for and the nature of               and Purchase of
             the debtor's interest                        Natural Gas between
                                                          BP Energy Company
                                                          and RD Juniper LLC
                                                          dated Feb. 17, 2017
                  State the term remaining
                                                                                       BP Energy Company
             List the contract number of any                                           201 Helios Way
                   government contract                                                 Houston, TX 77079


 2.61.       State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                       Caliber Valve and Controls LLC
             List the contract number of any                                           6896 Hwy 90 East
                   government contract                                                 Lake Charles, LA 70615


 2.62.       State what the contract or                   Product Sale and
             lease is for and the nature of               Purchase Agreement
             the debtor's interest

                  State the term remaining                Primary term: 72
                                                          months from
                                                          Commencement date
                                                          (first day of the Month
                                                          following the date upon
                                                          which the GTL Facility
                                                          first produces Product
                                                          in commercial
                                                          quantities ready to
                                                          Tender for Delivery.
                                                          The Commencement
                                                          Date is anticipated by
                                                          the Parties to be
                                                          between June 30, 2015
                                                          and April30, 2016.)          Calumet Lubricants Co., LP
             List the contract number of any                                           2780 Waterfront Pkwy. E. Drive, Ste. 200
                   government contract                                                 Indianapolis, IN 46214


 2.63.       State what the contract or                   Printer Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                       Cannon Instrument Company
             List the contract number of any                                           2139 High Tech Rd.
                   government contract                                                 State College, PA 16803




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.64.       State what the contract or                   Master Services
             lease is for and the nature of               Agreement between
             the debtor's interest                        CCC Group, Inc. and
                                                          RD Juniper LLC
                  State the term remaining
                                                                                     CCC Group, Inc.
             List the contract number of any                                         5795 Dietrich Rd.
                   government contract                                               San Antonio, TX 78258


 2.65.       State what the contract or                   Purchase Agreement
             lease is for and the nature of               Services Terms and
             the debtor's interest                        Conditions

                  State the term remaining
                                                                                     ChemTreat, Inc.
             List the contract number of any                                         15045 Collections Center Drive
                   government contract                                               Chicago, IL 60693


 2.66.       State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     ChemTreat, Inc.
             List the contract number of any                                         15045 Collections Center Drive
                   government contract                                               Chicago, IL 60693


 2.67.       State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     ChemTreat, Inc.
             List the contract number of any                                         15045 Collections Center Drive
                   government contract                                               Chicago, IL 60693


 2.68.       State what the contract or                   Equipment Purchase
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining
                                                                                     Chesapeake Flowserve US Inc
             List the contract number of any                                         4179 Collections Center Drive
                   government contract                                               Chicago, IL 60693


 2.69.       State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           Cintas Corporation
                                                                                     PO Box 631025
             List the contract number of any                                         Cincinnati, OH 45263-1025
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.70.       State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Cintas Corporation
             List the contract number of any                                         PO Box 631025
                   government contract                                               Cincinnati, OH 45263-1025


 2.71.       State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Cintas Corporation
             List the contract number of any                                         PO Box 631025
                   government contract                                               Cincinnati, OH 45263-1025


 2.72.       State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Cintas Corporation
             List the contract number of any                                         PO Box 631025
                   government contract                                               Cincinnati, OH 45263-1025


 2.73.       State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Cintas Corporation
             List the contract number of any                                         PO Box 631025
                   government contract                                               Cincinnati, OH 45263-1025


 2.74.       State what the contract or                   Construction Master
             lease is for and the nature of               Service Agreement
             the debtor's interest

                  State the term remaining
                                                                                     Clay & Domingue LLC
             List the contract number of any                                         1901 Holiday Dr.
                   government contract                                               Jennings, LA 70546


 2.75.       State what the contract or                   PAD for PO 10138 [sic.,
             lease is for and the nature of               should be PO 10135]        Clay & Domingue LLC
             the debtor's interest                                                   1901 Holiday Dr.
                                                                                     Jennings, LA 70546
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.76.       State what the contract or                   PAD for PO 10143
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Clay & Domingue LLC
             List the contract number of any                                         1901 Holiday Dr.
                   government contract                                               Jennings, LA 70546


 2.77.       State what the contract or                   PAD for PO 10126
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Clay & Domingue LLC
             List the contract number of any                                         1901 Holiday Dr.
                   government contract                                               Jennings, LA 70546


 2.78.       State what the contract or                   PAD for PO 10158
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Clay & Domingue LLC
             List the contract number of any                                         1901 Holiday Dr.
                   government contract                                               Jennings, LA 70546


 2.79.       State what the contract or                   PAD for PO 10159
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Clay & Domingue LLC
             List the contract number of any                                         1901 Holiday Dr.
                   government contract                                               Jennings, LA 70546


 2.80.       State what the contract or                   PAD for PO 10138 Rev
             lease is for and the nature of               2 [sic. Should be PO
             the debtor's interest                        10135 Rev. 2]

                  State the term remaining
                                                                                     Clay & Domingue LLC
             List the contract number of any                                         1901 Holiday Dr.
                   government contract                                               Jennings, LA 70546




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.81.       State what the contract or                   PAD for PO 10166
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      Clay & Domingue LLC
             List the contract number of any                                          1901 Holiday Dr.
                   government contract                                                Jennings, LA 70546


 2.82.       State what the contract or                   PAD for PO 10158 Rev
             lease is for and the nature of               1
             the debtor's interest

                  State the term remaining
                                                                                      Clay & Domingue LLC
             List the contract number of any                                          1901 Holiday Dr.
                   government contract                                                Jennings, LA 70546


 2.83.       State what the contract or                   PAD for PO 10159 Rev
             lease is for and the nature of               1
             the debtor's interest

                  State the term remaining
                                                                                      Clay & Domingue LLC
             List the contract number of any                                          1901 Holiday Dr.
                   government contract                                                Jennings, LA 70546


 2.84.       State what the contract or                   PAD for PO 10166 Rev
             lease is for and the nature of               1
             the debtor's interest

                  State the term remaining
                                                                                      Clay & Domingue LLC
             List the contract number of any                                          1901 Holiday Dr.
                   government contract                                                Jennings, LA 70546


 2.85.       State what the contract or                   PAD for PO 10138 Rev
             lease is for and the nature of               3 [sic., should be PO
             the debtor's interest                        10135 Rev 3]

                  State the term remaining
                                                                                      Clay & Domingue LLC
             List the contract number of any                                          1901 Holiday Dr.
                   government contract                                                Jennings, LA 70546


 2.86.       State what the contract or                   PAD for PO 10174
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                            Clay & Domingue LLC
                                                                                      1901 Holiday Dr.
             List the contract number of any                                          Jennings, LA 70546
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.87.       State what the contract or                   PAD for PO 10176
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Clay & Domingue LLC
             List the contract number of any                                         1901 Holiday Dr.
                   government contract                                               Jennings, LA 70546


 2.88.       State what the contract or                   PAD for PO 10182
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Clay & Domingue LLC
             List the contract number of any                                         1901 Holiday Dr.
                   government contract                                               Jennings, LA 70546


 2.89.       State what the contract or                   PAD for PO 10181
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Clay & Domingue LLC
             List the contract number of any                                         1901 Holiday Dr.
                   government contract                                               Jennings, LA 70546


 2.90.       State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Community Coffee Company
             List the contract number of any                                         PO Box 919149
                   government contract                                               Dallas, TX 75391


 2.91.       State what the contract or                   Services Agreement
             lease is for and the nature of
             the debtor's interest
                                                                                     Concept Associates
                  State the term remaining                Until 2025                 402, Shriniwas Villa, "C" Wing
                                                                                     Erandawana, Pune
             List the contract number of any                                         411 004, Maharashtra, India
                   government contract


 2.92.       State what the contract or                   Consulting Agreement       Contextualize (Pty) Ltd
             lease is for and the nature of                                          27 Beach Road
             the debtor's interest                                                   Wavecrest Apts # 802
                                                                                     Strand, Western Cape 7140 South Africa
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.93.       State what the contract or                   First Amendment to
             lease is for and the nature of               Consulting Agreement
             the debtor's interest

                  State the term remaining                                            Contextualize (Pty) Ltd
                                                                                      27 Beach Road
             List the contract number of any                                          Wavecrest Apts # 802
                   government contract                                                Strand, Western Cape 7140 South Africa


 2.94.       State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                            Contextualize (Pty) Ltd
                                                                                      27 Beach Road
             List the contract number of any                                          Wavecrest Apts # 802
                   government contract                                                Strand, Western Cape 7140 South Africa


 2.95.       State what the contract or                   Consulting Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      Cook's Business Consulting
             List the contract number of any                                          Raamfeld 185, 22397
                   government contract                                                Hamburg, DE 22397


 2.96.       State what the contract or                   Consulting Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      Corman Safety Professionals
             List the contract number of any                                          705 Broad Street
                   government contract                                                Lake Charles, LA 70601


 2.97.       State what the contract or                   Construction Contract
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      Custom Metal Fabricators, Inc.
             List the contract number of any                                          PO Box 7940
                   government contract                                                Lake Charles, LA 70606




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.98.       State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      Cypress Pipeline and Process Services, L
             List the contract number of any                                          6325 Cameron St.
                   government contract                                                Scott, LA 70583


 2.99.       State what the contract or                   Construction Contract
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      Daily Thermetrics
             List the contract number of any                                          5700 Hartsdale Drive
                   government contract                                                Houston, TX 77036


 2.100.      State what the contract or                   Equipment Terms
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      Daily Thermetrics
             List the contract number of any                                          5700 Hartsdale Drive
                   government contract                                                Houston, TX 77036


 2.101.      State what the contract or                   PO 11089 [sic. 10089
             lease is for and the nature of               Rev 1]
             the debtor's interest

                  State the term remaining
                                                                                      Daily Thermetrics
             List the contract number of any                                          5700 Hartsdale Drive
                   government contract                                                Houston, TX 77036


 2.102.      State what the contract or                   PO Rev 1 11089 [sic.
             lease is for and the nature of               10089 Rev 1]
             the debtor's interest

                  State the term remaining
                                                                                      Daily Thermetrics
             List the contract number of any                                          5700 Hartsdale Drive
                   government contract                                                Houston, TX 77036


 2.103.      State what the contract or                   Consulting Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                            Danita Maseles
                                                                                      28 W. Broad Oaks
             List the contract number of any                                          Houston, TX 77056
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.104.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           Dashiell Corporation
                                                                                     12301 Kurland Drive
             List the contract number of any                                         Suite 400
                   government contract                                               Houston, TX 77034


 2.105.      State what the contract or                   Engineered Equipment
             lease is for and the nature of               Terms and Conditions
             the debtor's interest

                  State the term remaining                Indefinite.
                                                                                     Delta Process Equipment
             List the contract number of any                                         P.O. Box 1697
                   government contract                                               Houston, TX 77251


 2.106.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Delta Process Equipment
             List the contract number of any                                         P.O. Box 1697
                   government contract                                               Houston, TX 77251


 2.107.      State what the contract or                   Services Agreement
             lease is for and the nature of               between Delta Terminal
             the debtor's interest                        Services LLC and
                                                          Juniper Specialty
                                                          Products LLC
                  State the term remaining
                                                                                     Delta Terminal Services LLC
             List the contract number of any                                         1001 Louisiana Street, Ste. 1000
                   government contract                                               Houston, TX 77002


 2.108.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           Delta Terminal Services LLC
                                                                                     1001 Louisiana Street
             List the contract number of any                                         Suite. 1000
                   government contract                                               Houston, TX 77002




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 Debtor 1 Juniper Specialty Products LLC                                                     Case number (if known)   20-33109
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.109.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     DGM Services, Inc.
             List the contract number of any                                         1813 Greens Rd
                   government contract                                               Houston, TX 77032


 2.110.      State what the contract or                   Consulting Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Don O'Shea
             List the contract number of any                                         8719 Stowe Creek Lane
                   government contract                                               Missouri City, TX 77459


 2.111.      State what the contract or                   Equipment Terms
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           Double E/Gutor
                                                                                     5700 NW Central Dr.
             List the contract number of any                                         #240
                   government contract                                               Houston, TX 77092


 2.112.      State what the contract or                   Consulting Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Doug Cathro
             List the contract number of any                                         13711 Gainesway Drive
                   government contract                                               Cypress, TX 77429


 2.113.      State what the contract or                   Consulting Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Douglass Chow
             List the contract number of any                                         12210 Rocky Knoll Drive
                   government contract                                               Houston, TX 77077


 2.114.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           Eaton Corporation
                                                                                     1000 Cherrington Parkway
             List the contract number of any                                         Moon Township, PA 15108
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 Debtor 1 Juniper Specialty Products LLC                                                      Case number (if known)   20-33109
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

                    government contract


 2.115.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      Eaton Corporation
             List the contract number of any                                          1000 Cherrington Parkway
                   government contract                                                Moon Township, PA 15108


 2.116.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      Eaton Corporation
             List the contract number of any                                          1000 Cherrington Parkway
                   government contract                                                Moon Township, PA 15108


 2.117.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      Eaton Corporation
             List the contract number of any                                          1000 Cherrington Parkway
                   government contract                                                Moon Township, PA 15108


 2.118.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      Eaton Corporation
             List the contract number of any                                          1000 Cherrington Parkway
                   government contract                                                Moon Township, PA 15108


 2.119.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      Eaton Corporation
             List the contract number of any                                          1000 Cherrington Parkway
                   government contract                                                Moon Township, PA 15108


 2.120.      State what the contract or                   Construction Contract
             lease is for and the nature of                                           Ecodyne Limited
             the debtor's interest                                                    4847 Homestead Road
                                                                                      Houston, TX 77028
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.121.      State what the contract or                   Equipment Terms*
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Ecodyne Limited
             List the contract number of any                                         4847 Homestead Road
                   government contract                                               Houston, TX 77028


 2.122.      State what the contract or                   PAP for PO 10036
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Ecodyne Limited
             List the contract number of any                                         4847 Homestead Road
                   government contract                                               Houston, TX 77028


 2.123.      State what the contract or                   PAP for PO 10036 Rev
             lease is for and the nature of               1
             the debtor's interest

                  State the term remaining
                                                                                     Ecodyne Limited
             List the contract number of any                                         4847 Homestead Road
                   government contract                                               Houston, TX 77028


 2.124.      State what the contract or                   PAP for PO 10036 Rev
             lease is for and the nature of               3
             the debtor's interest

                  State the term remaining
                                                                                     Ecodyne Limited
             List the contract number of any                                         4847 Homestead Road
                   government contract                                               Houston, TX 77028


 2.125.      State what the contract or                   PAP for PO 10036 Rev
             lease is for and the nature of               4
             the debtor's interest

                  State the term remaining
                                                                                     Ecodyne Limited
             List the contract number of any                                         4847 Homestead Road
                   government contract                                               Houston, TX 77028




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.126.      State what the contract or                   Consulting Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Elaine Nguyen
             List the contract number of any                                         21931 Lakemount Bend Lane
                   government contract                                               Richmond, TX 77407


 2.127.      State what the contract or                   Service Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Elliott Company
             List the contract number of any                                         901 North Fourth Street
                   government contract                                               Jeannette, PA 15644


 2.128.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Elliott Company
             List the contract number of any                                         901 North Fourth Street
                   government contract                                               Jeannette, PA 15644


 2.129.      State what the contract or                   Second Amendment to
             lease is for and the nature of               Second Amended and
             the debtor's interest                        Restated FT Catalyst
                                                          Site License Agreement
                                                          with Juniper Specialty
                                                          Products LLC
                  State the term remaining
                                                                                     Emerging Fuels Technology, Inc.
             List the contract number of any                                         6024 S. 116th E. Ave.
                   government contract                                               Tulsa, OK 74146


 2.130.      State what the contract or                   FT Catalyst Site
             lease is for and the nature of               License Agreement
             the debtor's interest

                  State the term remaining                For the life of the
                                                          Juniper plant.             Emerging Fuels Technology, Inc.
             List the contract number of any                                         6024 S. 116th E. Ave.
                   government contract                                               Tulsa, OK 74146


 2.131.      State what the contract or                   First Amendment to the
             lease is for and the nature of               FT Catalyst Site
             the debtor's interest                        License Agreement          Emerging Fuels Technology, Inc.
                                                                                     6024 S. 116th E. Ave.
                  State the term remaining                For the life of the        Tulsa, OK 74146
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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                                                          Juniper plant.
             List the contract number of any
                   government contract


 2.132.      State what the contract or                   Second Amended and
             lease is for and the nature of               Restated FT Catalyst
             the debtor's interest                        Site License Agreement

                  State the term remaining                For the life of the
                                                          Juniper plant.             Emerging Fuels Technology, Inc.
             List the contract number of any                                         6024 S. 116th E. Ave.
                   government contract                                               Tulsa, OK 74146


 2.133.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Endress+Hauser Inc. c/o TriNova Inc.
             List the contract number of any                                         2350 Endress Place
                   government contract                                               Greenwood, IN 46143


 2.134.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Energy Control Technologies, Inc.
             List the contract number of any                                         10664 Justin Drive
                   government contract                                               Urbandale, IA 50322


 2.135.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     EnerMech Mechanical Services, Inc.
             List the contract number of any                                         14000 West Road
                   government contract                                               Houston, TX 77041


 2.136.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     EnerMech Mechanical Services, Inc.
             List the contract number of any                                         14000 West Road
                   government contract                                               Houston, TX 77041




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 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.137.      State what the contract or                   Facility Study
             lease is for and the nature of               Agreement Between
             the debtor's interest                        Entergy Gulf States
                                                          Louisiana, LLC and
                                                          Juniper GTL LLC
                  State the term remaining                Indefinite.
                                                                                       Entergy Gulf States Louisiana L.L.C.
             List the contract number of any                                           446 North Blvd.
                   government contract                                                 Baton Rouge, LA 70802


 2.138.      State what the contract or                   Agreement for Electric
             lease is for and the nature of               Service
             the debtor's interest

                  State the term remaining                Five years from date
                                                          Customer first takes
                                                          service, which dale
                                                          shall be no later than
                                                          Dec. 1, 2015, then
                                                          continuing annually
                                                          until written 12 month
                                                          notice given by either
                                                          party to terminate.          Entergy Gulf States Louisiana L.L.C.
             List the contract number of any                                           446 North Blvd.
                   government contract                                                 Baton Rouge, LA 70802


 2.139.      State what the contract or                   Electric Service
             lease is for and the nature of               Agreement between
             the debtor's interest                        Entergy Louisiana, LLC
                                                          and RD Juniper LLC
                                                          dated Oct. 17, 2016
                  State the term remaining                                             Entergy Louisiana, LLC
                                                                                       Attn: Robert L. Ricci
             List the contract number of any                                           446 North Blvd.
                   government contract                                                 Baton Rouge, LA 70802


 2.140.      State what the contract or                   Engineering Equipment
             lease is for and the nature of               Purchase Agreement
             the debtor's interest

                  State the term remaining
                                                                                       Envirosep Fluid & Heat Recovery Systems
             List the contract number of any                                           31 Aviation Boulevard
                   government contract                                                 Georgetown, SC 29440


 2.141.      State what the contract or                   Equipment Terms
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                       Envirosep Fluid & Heat Recovery Systems
             List the contract number of any                                           31 Aviation Boulevard
                   government contract                                                 Georgetown, SC 29440
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 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease



 2.142.      State what the contract or                   PAD for PO 10165
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                       Envirosep Fluid & Heat Recovery Systems
             List the contract number of any                                           31 Aviation Boulevard
                   government contract                                                 Georgetown, SC 29440


 2.143.      State what the contract or                   Master Services
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining
                                                                                       ETEC Industrial Services, LLC
             List the contract number of any                                           90 Market St.
                   government contract                                                 Portland, TX 78374


 2.144.      State what the contract or                   Mobile RO [Reverse
             lease is for and the nature of               Osmosis] Services
             the debtor's interest                        Agreement

                  State the term remaining                Initial term 5 years after
                                                          completion of
                                                          Commencement phase,
                                                          thereafter renewed for
                                                          1 year terms unless
                                                          terminated by either
                                                          party upon 60 days
                                                          written notice.              Evoqua Water Technologies LLC
             List the contract number of any                                           181 Thorn Hill Road
                   government contract                                                 Warrendale, PA 15086


 2.145.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                       Evoqua Water Technologies LLC
             List the contract number of any                                           181 Thorn Hill Road
                   government contract                                                 Warrendale, PA 15086


 2.146.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                       Evoqua Water Technologies LLC
             List the contract number of any                                           181 Thorn Hill Road
                   government contract                                                 Warrendale, PA 15086

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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease


 2.147.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           Evosite LLC
                                                                                     10649 Haddington Dr.
             List the contract number of any                                         Suite 160
                   government contract                                               Houston, TX 77043


 2.148.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Excel Maintenance Services, Inc.
             List the contract number of any                                         8641 United Plaza Blvd
                   government contract                                               Baton Rouge, LA 70809


 2.149.      State what the contract or                   Equipment Terms
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Exterran
             List the contract number of any                                         11000 Equity Dr
                   government contract                                               Houston, TX 77041


 2.150.      State what the contract or                   Purchase Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Fabricon International
             List the contract number of any                                         7624 Garth St.
                   government contract                                               Beaumont, TX 77705


 2.151.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           Fire Risk & Safety Technologies
                                                                                     211 E Parkwood Ave.
             List the contract number of any                                         Suite 101
                   government contract                                               Friendswood, TX 77546


 2.152.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest                                                   Fisher Controls International LLC
                                                                                     205 South Center Street
                  State the term remaining                                           P.O. Box 190
                                                                                     Marshalltown, IA 50158
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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

             List the contract number of any
                   government contract


 2.153.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           Flow-Tech Industries, Inc.
                                                                                     8700 Jameel
             List the contract number of any                                         Suite 100
                   government contract                                               Houston, TX 77041


 2.154.      State what the contract or                   Purchase Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Flowserve US Inc
             List the contract number of any                                         12134 Industriplex Blvd
                   government contract                                               Baton Rouge, LA 70809


 2.155.      State what the contract or                   Equipment Terms*
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Flowserve US Inc
             List the contract number of any                                         12134 Industriplex Blvd
                   government contract                                               Baton Rouge, LA 70809


 2.156.      State what the contract or                   PAD for PO 10133
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Flowserve US Inc
             List the contract number of any                                         12134 Industriplex Blvd
                   government contract                                               Baton Rouge, LA 70809


 2.157.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Ford, Bacon & Davis LLC
             List the contract number of any                                         12021 Lakeland Park Blvd.
                   government contract                                               Baton Rouge, LA 70809




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.158.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Francis X Brady
             List the contract number of any                                         108 Genesee Lane
                   government contract                                               Madison, CT 06443


 2.159.      State what the contract or                   Purchase Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     FSE Energy
             List the contract number of any                                         74378 LA-25
                   government contract                                               Covington, LA 70435


 2.160.      State what the contract or                   Equipment Terms
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Indefinite.
                                                                                     FSE Energy
             List the contract number of any                                         74378 LA-25
                   government contract                                               Covington, LA 70435


 2.161.      State what the contract or                   PAD for PO 10063
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     FSE Energy
             List the contract number of any                                         74378 LA-25
                   government contract                                               Covington, LA 70435


 2.162.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     G&W Engineers, Inc.
             List the contract number of any                                         205 West Live Oak
                   government contract                                               Port Lavaca, TX 77979


 2.163.      State what the contract or                   Consulting Agreement
             lease is for and the nature of
             the debtor's interest
                                                                                     Gap Engineering Inc.
                  State the term remaining                                           21703 Kingsland Blvd
                                                                                     Suite 103
             List the contract number of any                                         Katy, TX 77450
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

                    government contract


 2.164.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                        Garrison Industrial Services, Inc.
             List the contract number of any                                            315 Ellender St.
                   government contract                                                  Sulphur, LA 70663


 2.165.      State what the contract or                   Master Services
             lease is for and the nature of               Agreement between
             the debtor's interest                        Juniper Specialty
                                                          Products LLC and
                                                          Genesis Venture
                                                          Logistics dated July 2,
                                                          2018
                  State the term remaining
                                                                                        Genesis Venture Logistics
             List the contract number of any                                            10 St. Ann Dr
                   government contract                                                  Mandeville, LA 70471


 2.166.      State what the contract or                   Service Agreement
             lease is for and the nature of               between Gibson
             the debtor's interest                        Applied Technology &
                                                          Engineering (Texas)
                                                          LLC and RD Juniper
                                                          LLC dated Sept. 14,
                                                          2017
                  State the term remaining
                                                                                        Gibson Applied Technology & Engineering
             List the contract number of any                                            16360 Park Ten Place, Ste. 206
                   government contract                                                  Houston, TX 77084


 2.167.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                              Gibson Applied Technology and Engineerin
                                                                                        16360 Park Ten Place
             List the contract number of any                                            Suite 206
                   government contract                                                  Houston, TX 77084


 2.168.      State what the contract or                   Purchase Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                        Goulds Pumps Inc.
             List the contract number of any                                            1211 Industriplex Blvd.
                   government contract                                                  Baton Rouge, LA 70809
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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease



 2.169.      State what the contract or                   Equipment Terms*
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Goulds Pumps Inc.
             List the contract number of any                                         1211 Industriplex Blvd.
                   government contract                                               Baton Rouge, LA 70809


 2.170.      State what the contract or                   PAD for PO 10007 Rev
             lease is for and the nature of               1
             the debtor's interest

                  State the term remaining
                                                                                     Goulds Pumps Inc.
             List the contract number of any                                         1211 Indstriplex Blvd.
                   government contract                                               Baton Rouge, LA 70809


 2.171.      State what the contract or                   PAD for 10035
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Goulds Pumps Inc.
             List the contract number of any                                         1211 Industriplex Blvd.
                   government contract                                               Baton Rouge, LA 70809


 2.172.      State what the contract or                   PAD for 10035 Rev 1
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Goulds Pumps Inc.
             List the contract number of any                                         1211 Industriplex Blvd.
                   government contract                                               Baton Rouge, LA 70809


 2.173.      State what the contract or                   PAD for 10035 Rev 2
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Goulds Pumps Inc.
             List the contract number of any                                         1211 Industriplex Blvd.
                   government contract                                               Baton Rouge, LA 70809


 2.174.      State what the contract or                   Purchase Agreement
             lease is for and the nature of
             the debtor's interest
                                                                                     Graham Corp
                  State the term remaining
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease


             List the contract number of any
                   government contract


 2.175.      State what the contract or                   Equipment Terms
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      Graham Corporation
             List the contract number of any                                          20 Florence Ave
                   government contract                                                Batavia, NY 14020


 2.176.      State what the contract or                   Delivery Interconnect
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining
                                                                                      Gulf South Pipeline Company, LP
             List the contract number of any                                          P.O. Box 730000
                   government contract                                                Dallas, TX 75373


 2.177.      State what the contract or                   Communication and
             lease is for and the nature of               Rate Agreement
             the debtor's interest

                  State the term remaining
                                                                                      Hampton Inn - Sulphur/LC Area
             List the contract number of any                                          IH 10 - Exit 20 210 Henning
                   government contract                                                Sulphur, LA 70663


 2.178.      State what the contract or                   Purchase Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      Heatec, Inc.
             List the contract number of any                                          5200 Wilson Road
                   government contract                                                Chattanooga, TN 37410


 2.179.      State what the contract or                   Engineered Equipment
             lease is for and the nature of               Terms and Conditions
             the debtor's interest

                  State the term remaining                Indefinite.
                                                                                      Heatec, Inc.
             List the contract number of any                                          5200 Wilson Road
                   government contract                                                Chattanooga, TN 37410




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.180.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Heatec, Inc.
             List the contract number of any                                         5200 Wilson Road
                   government contract                                               Chattanooga, TN 37410


 2.181.      State what the contract or                   Power of Attorney
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Hecny Brokerage Services Inc
             List the contract number of any                                         19550 S. Dominguez Hills Dr
                   government contract                                               Rancho Dominguez, CA 90220


 2.182.      State what the contract or                   Purchase Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Highland Tank and Mfg. Co.
             List the contract number of any                                         One Highland Road
                   government contract                                               Stoystown, PA 15563


 2.183.      State what the contract or                   Engineered Terms and
             lease is for and the nature of               Conditions*
             the debtor's interest

                  State the term remaining
                                                                                     Highland Tank and Mfg. Co.
             List the contract number of any                                         One Highland Road
                   government contract                                               Stoystown, PA 15563


 2.184.      State what the contract or                   PAD for PO 10105
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Highland Tank and Mfg. Co.
             List the contract number of any                                         One Highland Road
                   government contract                                               Stoystown, PA 15563


 2.185.      State what the contract or                   PAD for PO 10105 Rev
             lease is for and the nature of               1
             the debtor's interest

                  State the term remaining                                           Highland Tank and Mfg. Co.
                                                                                     One Highland Road
             List the contract number of any                                         Stoystown, PA 15563
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

                    government contract


 2.186.      State what the contract or                   PAD for PO 10105 Rev
             lease is for and the nature of               2
             the debtor's interest

                  State the term remaining
                                                                                      Highland Tank and Mfg. Co.
             List the contract number of any                                          One Highland Road
                   government contract                                                Stoystown, PA 15563


 2.187.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      Hine Environmental Services, LLC
             List the contract number of any                                          4000 Areno Rd.
                   government contract                                                Sulphur, LA 70665


 2.188.      State what the contract or                   Equipment Terms
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      Honeywell
             List the contract number of any                                          2966 Lupine Ave
                   government contract                                                Baton Rouge, LA 70805


 2.189.      State what the contract or                   Construction Contract
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      Hunter Buildings & Manufacturing, LP
             List the contract number of any                                          14935 Jacintoport Blvd.
                   government contract                                                Houston, TX 77015


 2.190.      State what the contract or                   Equipment Terms
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      Hunter Buildings & Manufacturing, LP
             List the contract number of any                                          14935 Jacintoport Blvd.
                   government contract                                                Houston, TX 77015


 2.191.      State what the contract or                   Purchase Order
             lease is for and the nature of                                           Hunter Buildings & Manufacturing, LP
             the debtor's interest                                                    14935 Jacintoport Blvd.
                                                                                      Houston, TX 77015
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 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.192.      State what the contract or                   Agreement in Principle
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Indefinite.
                                                                                       Industrial Exchange Corp.
             List the contract number of any                                            Meadowlawn St.
                   government contract                                                 Houston, TX 77023


 2.193.      State what the contract or                   Proforma Invoice and
             lease is for and the nature of               Terms and Conditions
             the debtor's interest                        for Sale of Equipment

                  State the term remaining                Indefinite.
                                                                                       Industrial Exchange Corp.
             List the contract number of any                                            Meadowlawn St.
                   government contract                                                 Houston, TX 77023


 2.194.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                       Industrial Lubrication Services, LLC
             List the contract number of any                                           415 S White Oak Rd
                   government contract                                                 White Oak, TX 75693


 2.195.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                       International Alliance Group
             List the contract number of any                                           3657 Briarpark
                   government contract                                                 Houston, TX 77042


 2.196.      State what the contract or                   Purchase order general
             lease is for and the nature of               terms and conditions
             the debtor's interest

                  State the term remaining                                             Intertek Technical Services
                                                                                       25025 I-45 North
             List the contract number of any                                           Suite 111
                   government contract                                                 Spring, TX 77380




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.197.      State what the contract or                   Purchase Order and
             lease is for and the nature of               related terms and
             the debtor's interest                        conditions

                  State the term remaining                                           Jacobs Engineering Group Inc.
                                                                                     1999 Bryan Street
             List the contract number of any                                         Suite 1200
                   government contract                                               Dallas, TX 75201


 2.198.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           Jacobs Engineering Group Inc.
                                                                                     1999 Bryan Street
             List the contract number of any                                         Suite 1200
                   government contract                                               Dallas, TX 75201


 2.199.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           Jacobs Engineering Group Inc.
                                                                                     1999 Bryan Street
             List the contract number of any                                         Suite 1200
                   government contract                                               Dallas, TX 75201


 2.200.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           Jacobs Engineering Group Inc.
                                                                                     1999 Bryan Street
             List the contract number of any                                         Suite 1200
                   government contract                                               Dallas, TX 75201


 2.201.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           Jacobs Engineering Group Inc.
                                                                                     1999 Bryan Street
             List the contract number of any                                         Suite 1200
                   government contract                                               Dallas, TX 75201


 2.202.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest
                                                                                     Jacobs Engineering Group Inc.
                  State the term remaining                                           1999 Bryan Street
                                                                                     Suite 1200
             List the contract number of any                                         Dallas, TX 75201
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.203.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           Jacobs Engineering Group Inc.
                                                                                     1999 Bryan Street
             List the contract number of any                                         Suite 1200
                   government contract                                               Dallas, TX 75201


 2.204.      State what the contract or                   Consulting Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Jay Rizzo
             List the contract number of any                                         7002 Bent Branch Drive
                   government contract                                               Houston, TX 77088


 2.205.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     John H. Carter Inc.
             List the contract number of any                                         17630 Perkins Road
                   government contract                                               Baton Rouge, LA 70810


 2.206.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     John H. Carter Inc.
             List the contract number of any                                         17630 Perkins Road
                   government contract                                               Baton Rouge, LA 70810


 2.207.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     John H. Carter Inc.
             List the contract number of any                                         17630 Perkins Road
                   government contract                                               Baton Rouge, LA 70810


 2.208.      State what the contract or                   Purchase Order
             lease is for and the nature of                                          John H. Carter Inc.
             the debtor's interest                                                   17630 Perkins Road
                                                                                     Baton Rouge, LA 70810
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 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.209.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                        John H. Carter Inc.
             List the contract number of any                                            17630 Perkins Road
                   government contract                                                  Baton Rouge, LA 70810


 2.210.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                              Johnson Controls Inc.
                                                                                        5757 N. Green Bay Ave
             List the contract number of any                                            PO Box 591
                   government contract                                                  Milwaukee, WI 53209


 2.211.      State what the contract or                   ISDA 2002 Master
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining                                              JP Morgan Ventures Energy Corp.
                                                                                        383 Madison Ave.
             List the contract number of any                                            10th Floor
                   government contract                                                  New York, NY 10017


 2.212.      State what the contract or                   ISDA Master
             lease is for and the nature of               Agreement-- Guarantee
             the debtor's interest

                  State the term remaining                5 years after Effective
                                                          Date.                         JPMorgan Chase Bank, N.A.
             List the contract number of any                                            PO Box 182051
                   government contract                                                  Columbus, OH 43218


 2.213.      State what the contract or                   Equipment Terms
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                        Kansas City Deaerator
             List the contract number of any                                            6731 W 121st St.
                   government contract                                                  Leawood, KS 66209




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.214.      State what the contract or                   Engagement Letter
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           Kean Miller LLP
                                                                                     400 Convention Street
             List the contract number of any                                         Suite 700
                   government contract                                               Baton Rouge, LA 70821


 2.215.      State what the contract or                   Consulting Agreement
             lease is for and the nature of               between Kenneth Philip
             the debtor's interest                        and Juniper Specialty
                                                          Products LLC               Kenneth Ratenbury Philip
                  State the term remaining                                           1 Kneeton Cottages
                                                                                     Middleton Tyas
             List the contract number of any                                         Richmond
                   government contract                                               North Yorkshore Dl 10 6NL, UK


 2.216.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining

             List the contract number of any                                         Kenneth Ratenbury Philip
                   government contract


 2.217.      State what the contract or                   Consulting Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Kenneth Rayford
             List the contract number of any                                         3887 N Jasmine Drive
                   government contract                                               Lake Charles, LA 70605


 2.218.      State what the contract or                   Service Contract
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Kinder Morgan
             List the contract number of any                                         145 Main Street
                   government contract                                               Port Washington, NY 11050


 2.219.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           Kline & Company, Inc.
                                                                                     35 Waterview Blvd
             List the contract number of any                                         Parsippany, NJ 07054
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

                    government contract


 2.220.      State what the contract or                   Service Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                            Knighthawk Engineering, Inc.
                                                                                      17625 El Camino Real
             List the contract number of any                                          #412
                   government contract                                                Houston, TX 77058


 2.221.      State what the contract or                   MSA -- Work Release
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                See Services                Knighthawk Engineering, Inc.
                                                          Agreement.                  17625 El Camino Real
             List the contract number of any                                          #412
                   government contract                                                Houston, TX 77058


 2.222.      State what the contract or                   First Amendment to the
             lease is for and the nature of               Services Agreement
             the debtor's interest

                  State the term remaining                See Services                Knighthawk Engineering, Inc.
                                                          Agreement.                  17625 El Camino Real
             List the contract number of any                                          #412
                   government contract                                                Houston, TX 77058


 2.223.      State what the contract or                   Purchase and Services
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining                                            Kobelco Compressors Amerca, Inc.
                                                                                      1415 Louisiana St.
             List the contract number of any                                          Suite 4111
                   government contract                                                Houston, TX 77002


 2.224.      State what the contract or                   Equipment Terms
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                            Kobelco Compressors Amerca, Inc.
                                                                                      1415 Louisiana St.
             List the contract number of any                                          Suite 4111
                   government contract                                                Houston, TX 77002


 2.225.      State what the contract or                   Field Service Terms         Kobelco Compressors Amerca, Inc.
             lease is for and the nature of               and Conditions              1415 Louisiana St.
             the debtor's interest                                                    Suite 4111
                                                                                      Houston, TX 77002
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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.226.      State what the contract or                   Equipment Terms
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Koch-Glitsch LP
             List the contract number of any                                         6748 Complex Dr
                   government contract                                               Baton Rouge, LA 70809


 2.227.      State what the contract or                   PAD for PO 10074
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Koch-Glitsch LP
             List the contract number of any                                         6748 Complex Dr
                   government contract                                               Baton Rouge, LA 70809


 2.228.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Lake Area Office Products
             List the contract number of any                                         P.O. Box 5391
                   government contract                                               Lake Charles, LA 70606


 2.229.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Lard Oil Company of Acadiana
             List the contract number of any                                         914 Florida Avenue SW
                   government contract                                               Denham Springs, LA 70726


 2.230.      State what the contract or                   Engineered Equipment
             lease is for and the nature of               Terms and Conditions
             the debtor's interest

                  State the term remaining                Indefinite.                Layne Christensen
                                                                                     1800 Hughes Landing Boulevard
             List the contract number of any                                         Suite 700
                   government contract                                               Woodlands, TX 77380




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 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.231.      State what the contract or                   PAD for PO 10167
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                            Layne Christensen
                                                                                      1800 Hughes Landing Boulevard
             List the contract number of any                                          Suite 700
                   government contract                                                Woodlands, TX 77380


 2.232.      State what the contract or                   PAD for PO 10167 Rev
             lease is for and the nature of               1
             the debtor's interest

                  State the term remaining                                            Layne Christensen
                                                                                      1800 Hughes Landing Boulevard
             List the contract number of any                                          Suite 700
                   government contract                                                Woodlands, TX 77380


 2.233.      State what the contract or                   Professional Services
             lease is for and the nature of               Agreement - First
             the debtor's interest                        Amendment

                  State the term remaining                See PSA.

             List the contract number of any                                          Leidos Engineering LLC (at that time SA
                   government contract


 2.234.      State what the contract or                   Professional Services
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining
                                                                                      Leidos Engineering, LLC
             List the contract number of any                                          11951 Freedom
                   government contract                                                Reston, VA 20190


 2.235.      State what the contract or                   Various
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      Leidos Engineering, LLC
             List the contract number of any                                          11951 Freedom
                   government contract                                                Reston, VA 20190


 2.236.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                            Leidos Engineering, LLC
                                                                                      11951 Freedom
             List the contract number of any                                          Reston, VA 20190
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 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

                    government contract


 2.237.      State what the contract or                   Master Services
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining
                                                                                      Levingston Group, LLC
             List the contract number of any                                          210 Teal Rd
                   government contract                                                Sulphur, LA 70665


 2.238.      State what the contract or                   MSA -- Work Release*
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      Levingston Group, LLC
             List the contract number of any                                          210 Teal Rd
                   government contract                                                Sulphur, LA 70665


 2.239.      State what the contract or                   Schedule of Charges
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                See MSA.
                                                                                      Levingston Group, LLC
             List the contract number of any                                          210 Teal Rd
                   government contract                                                Sulphur, LA 70665


 2.240.      State what the contract or                   Construction Contract
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                            Linde Engineering North America, Inc.
                                                                                      12140 Wickchester Lane
             List the contract number of any                                          Suite 300
                   government contract                                                Houston, TX 77079


 2.241.      State what the contract or                   Terms and Conditions
             lease is for and the nature of               for Field Consulting
             the debtor's interest                        Services Performed
                                                          within USA
                  State the term remaining                Indefinite.                 Linde Engineering North America, Inc.
                                                                                      12140 Wickchester Lane
             List the contract number of any                                          Suite 300
                   government contract                                                Houston, TX 77079


 2.242.      State what the contract or                   Terms and Conditions        Linde Engineering North America, Inc.
             lease is for and the nature of               for Sale of Equipment       12140 Wickchester Lane
             the debtor's interest                                                    Suite 300
                                                                                      Houston, TX 77079
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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining                Indefinite.

             List the contract number of any
                   government contract


 2.243.      State what the contract or                   Contract for Exemption
             lease is for and the nature of               of Ad Valorem Taxes
             the debtor's interest
                                                                                     Louisiana Dept. of Economic Dev.
                  State the term remaining                                           State of Louisiana
                                                                                     Attn: Don Pierson
             List the contract number of any                                         P.O. Box 94185
                   government contract       20161808                                Baton Rouge, LA 70804-9185


 2.244.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Louisiana Radio Communications, Inc.
             List the contract number of any                                         PO Box 3143
                   government contract                                               Lake Charles, LA 70602


 2.245.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Louisiana Radio Communications, Inc.
             List the contract number of any                                         PO Box 3143
                   government contract                                               Lake Charles, LA 70602


 2.246.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Louisiana Radio Communications, Inc.
             List the contract number of any                                         PO Box 3143
                   government contract                                               Lake Charles, LA 70602


 2.247.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Louisiana Radio Communications, Inc.
             List the contract number of any                                         PO Box 3143
                   government contract                                               Lake Charles, LA 70602




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.248.      State what the contract or                   Master Site License
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining                Each license
                                                          commences on Dec. 28,
                                                          2015 and ends per
                                                          individual license
                                                          specifies. Agreement
                                                          ends after
                                                          expiration/termination     Lyondell Chemical Company
                                                          of all Licenses.           1221 McKinney
             List the contract number of any                                         Suite 700
                   government contract                                               Houston, TX 77010


 2.249.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Maplewood Industrial Services, LLC
             List the contract number of any                                         5175 Maplewood Drive
                   government contract                                               Sulphur, LA 70663


 2.250.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Maplewood Industrial Services, LLC
             List the contract number of any                                         5175 Maplewood Drive
                   government contract                                               Sulphur, LA 70663


 2.251.      State what the contract or                   Consulting Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Marie Cassens
             List the contract number of any                                         15405 Glamorgan
                   government contract                                               Jersey Village, TX 77040


 2.252.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Marimon Business Systems Inc
             List the contract number of any                                         PO Box 40998
                   government contract                                               Houston, TX 77240




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.253.      State what the contract or                   Consulting Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      Mark Andrews
             List the contract number of any                                          12514 Kingsride Lane
                   government contract                                                Houston, TX 77024


 2.254.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      Matrix New World Engineering
             List the contract number of any                                          26 Columbia Turnpike - 2nd Floor
                   government contract                                                Florham Park, NJ 07932


 2.255.      State what the contract or                   Construction Services
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining                                            Matrix Service Inc.
                                                                                      5713 Superior Dr.
             List the contract number of any                                          Suite A-2
                   government contract                                                Baton Rouge, LA 70816


 2.256.      State what the contract or                   Consent and
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining                N/A                         Matrix Service Inc.
                                                                                      5713 Superior Dr.
             List the contract number of any                                          Suite A-2
                   government contract                                                Baton Rouge, LA 70816


 2.257.      State what the contract or                   Consulting Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                            Max Sprague
                                                                                      444 E. Medical Center Blvd.
             List the contract number of any                                          Apt. 1302
                   government contract                                                Webster, TX 77598


 2.258.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                            Mettler-Toledo, LLC
                                                                                      1900 Polaris Parkway
             List the contract number of any                                          Columbus, OH 43240
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.259.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Mettler-Toledo, LLC
             List the contract number of any                                         1900 Polaris Parkway
                   government contract                                               Columbus, OH 43240


 2.260.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Meyer & Associates, Inc.
             List the contract number of any                                         600 N. Cities Service Hwy
                   government contract                                               Sulphur, LA 70663


 2.261.      State what the contract or                   Consulting Agreement
             lease is for and the nature of               between Michael
             the debtor's interest                        Roberts and RD
                                                          Juniper LLC
                  State the term remaining
                                                                                     Michael Roberts
             List the contract number of any                                         5818 Sackville Close
                   government contract                                               Humble, TX 77346


 2.262.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Micro Motion, Inc.
             List the contract number of any                                         7070 Winchester Circle
                   government contract                                               Boulder, CO 80301


 2.263.      State what the contract or                   Master Services
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining                Indefinite.                Middough, Inc.
                                                                                     1901 East 13th Street
             List the contract number of any                                         Suite 400
                   government contract                                               Cleveland, OH 44114


 2.264.      State what the contract or                   Purchase Order             Middough, Inc.
             lease is for and the nature of                                          1901 East 13th Street
             the debtor's interest                                                   Suite 400
                                                                                     Cleveland, OH 44114
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.265.      State what the contract or                   Engineering Services
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining                                           Mitsubishi Heavy Industries
                                                                                     1221 McKinney
             List the contract number of any                                         Suite 4520
                   government contract                                               Houston, TX 77010


 2.266.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Mobile Mini Storage Solutions
             List the contract number of any                                         4646 East Van Buren
                   government contract                                               Phoenix, AZ 85008


 2.267.      State what the contract or                   Purchase Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Monitor Tech Corp LLC
             List the contract number of any                                         661 N James Rd
                   government contract                                               Columbus, OH 43219


 2.268.      State what the contract or                   1) Engineered
             lease is for and the nature of               Equipment Terms and
             the debtor's interest                        Conditions,
                                                          supplemented by 2)
                                                          Monitor Tech Corp.
                                                          Standard Terms and
                                                          Conditions.
                  State the term remaining                Indefinite.
                                                                                     Monitor Tech Corp LLC
             List the contract number of any                                         661 N James Rd
                   government contract                                               Columbus, OH 43219


 2.269.      State what the contract or                   PAD for PO 10097
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Monitor Tech Corp LLC
             List the contract number of any                                         661 N James Rd
                   government contract                                               Columbus, OH 43219
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease



 2.270.      State what the contract or                   PAD for PO 10097 Rev
             lease is for and the nature of               1
             the debtor's interest

                  State the term remaining
                                                                                      Monitor Tech Corp LLC
             List the contract number of any                                          661 N James Rd
                   government contract                                                Columbus, OH 43219


 2.271.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      Moody Price LLC
             List the contract number of any                                          18320 Petroleum Drive
                   government contract                                                Baton Rouge, LA 70809


 2.272.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      Munro's Safety Apparel
             List the contract number of any                                          1520 Broadway
                   government contract                                                Beaumont, TX 77704


 2.273.      State what the contract or                   XTLH Solution Excrow
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining                1 year,with automatic
                                                          renewals (unless
                                                          terminated by notice        NCC Group Escrow Associates LLC
                                                          and/or non-payment).        123 Mission Street
             List the contract number of any                                          9th Floor
                   government contract                                                Tulsa, OK 74105


 2.274.      State what the contract or                   Consulting Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      Neil Boudreaux
             List the contract number of any                                          5454 Chandler Avenue
                   government contract                                                Lake Charles, LA 70607




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.275.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Newport Tank Containers (USA) LLC
             List the contract number of any                                         1340 Depot Street
                   government contract                                               Rocky River, OH 44116


 2.276.      State what the contract or                   Services Terms and
             lease is for and the nature of               Conditions
             the debtor's interest

                  State the term remaining                Indefinite.
                                                                                     Ohmstede Industrial Services
             List the contract number of any                                         1750 Swisco Road
                   government contract                                               Sulphur, LA 70665


 2.277.      State what the contract or                   PAD for PO 10112
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Ohmstede Industrial Services
             List the contract number of any                                         1750 Swisco Road
                   government contract                                               Sulphur, LA 70665


 2.278.      State what the contract or                   PAD for PO 10111
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Ohmstede Industrial Services
             List the contract number of any                                         1750 Swisco Road
                   government contract                                               Sulphur, LA 70665


 2.279.      State what the contract or                   PAD for PO 10147 Rev
             lease is for and the nature of               2
             the debtor's interest

                  State the term remaining
                                                                                     Ohmstede Industrial Services
             List the contract number of any                                         1750 Swisco Road
                   government contract                                               Sulphur, LA 70665


 2.280.      State what the contract or                   Purchase and
             lease is for and the nature of               Indemnification
             the debtor's interest                        Agreement
                                                                                     Olin Corporation
                  State the term remaining                                           3855 North Ocoee Street
                                                                                     Suite 200
             List the contract number of any                                         Cleveland, TN 37312
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 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

                    government contract


 2.281.      State what the contract or                   Environmental
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining                Indefinite.                 Olin Corporation
                                                                                      3855 North Ocoee Street
             List the contract number of any                                          Suite 200
                   government contract                                                Cleveland, TN 37312


 2.282.      State what the contract or                   Consulting Agreement
             lease is for and the nature of               between Operations
             the debtor's interest                        Ownership Consultants
                                                          and RD Juniper LLC
                  State the term remaining
                                                                                      Operations Ownership Consultants, LLC
             List the contract number of any                                          13219 Golden Field Drive
                   government contract                                                Houston, TX 77059


 2.283.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      Orion Instruments, LLC
             List the contract number of any                                          2105 Oak Villa Blvd
                   government contract                                                Baton Rouge, LA 70815


 2.284.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      OSIsoft LLC
             List the contract number of any                                          1600 Alvarado Street
                   government contract                                                San Leandro, CA 94577


 2.285.      State what the contract or                   Storage Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      Palmer Logistics
             List the contract number of any                                          4033 Malone Dr
                   government contract                                                Pasadena, TX 77507


 2.286.      State what the contract or                   Construction Services
             lease is for and the nature of               Agreement                   Parfab Field Services LLC
             the debtor's interest                                                    11402 I-10 East Frontage Rd.
                                                                                      Baytown, TX 77523
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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining                Indefinite.

             List the contract number of any
                   government contract


 2.287.      State what the contract or                   First Amendment to the
             lease is for and the nature of               Construction Services
             the debtor's interest                        Agreement

                  State the term remaining                Indefinite.
                                                                                     Parfab Field Services LLC
             List the contract number of any                                         11402 I-10 East Frontage Rd.
                   government contract                                               Baytown, TX 77523


 2.288.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           PAS Global, LLC
                                                                                     16055 Space Center Blvd.
             List the contract number of any                                         Suite 600
                   government contract                                               Houston, TX 77062


 2.289.      State what the contract or                   Master Service
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining
                                                                                     Perficient, INc.
             List the contract number of any                                         555 Maryville University Dr., Ste. 600
                   government contract                                               Saint Louis, MO 63141


 2.290.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Peridot Energy LLC
             List the contract number of any                                         3649 Hemlock Park Drive
                   government contract                                               Kingsport, TN 37663


 2.291.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Petroplan USA LLC
             List the contract number of any                                         3151 Briarpark Drive, # 1250
                   government contract                                               Houston, TX 77042




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.292.      State what the contract or                   Engineered Equipment
             lease is for and the nature of               Terms and Conditions
             the debtor's interest

                  State the term remaining                Indefinite.
                                                                                     Pinnacle Industries Ltd
             List the contract number of any                                         407 Eagle Avenue
                   government contract                                               Pasadena, TX 77506


 2.293.      State what the contract or                   PAD for PO 10051
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Pinnacle Industries Ltd
             List the contract number of any                                         407 Eagle Avenue
                   government contract                                               Pasadena, TX 77506


 2.294.      State what the contract or                   PAD for PO 10051 Rev
             lease is for and the nature of               2
             the debtor's interest

                  State the term remaining
                                                                                     Pinnacle Industries Ltd
             List the contract number of any                                         407 Eagle Avenue
                   government contract                                               Pasadena, TX 77506


 2.295.      State what the contract or                   PAD for PO 10051 Rev
             lease is for and the nature of               1
             the debtor's interest

                  State the term remaining
                                                                                     Pinnacle Industries Ltd
             List the contract number of any                                         407 Eagle Avenue
                   government contract                                               Pasadena, TX 77506


 2.296.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Pinnacle Industries Ltd
             List the contract number of any                                         407 Eagle Avenue
                   government contract                                               Pasadena, TX 77506


 2.297.      State what the contract or                   Consulting Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           Polaris Safety & Risk LLC
                                                                                     5717 Arabelle Crest
             List the contract number of any                                         Houston, TX 77007
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

                    government contract


 2.298.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                       Polaris Safety & Risk LLC
             List the contract number of any                                           5717 Arabelle Crest
                   government contract                                                 Houston, TX 77007


 2.299.      State what the contract or                   Product Supply
             lease is for and the nature of               Agreement between
             the debtor's interest                        Praxair, Inc. and
                                                          Juniper Specialty
                                                          Products, LLC
                  State the term remaining                                             Praxair, Inc.
                                                                                       P.O. Box 1986
             List the contract number of any                                           10 Riverview Drive
                   government contract                                                 Danbury, CT 06810-1986


 2.300.      State what the contract or                   Settlement Letter from
             lease is for and the nature of               Holley O'Donnell of
             the debtor's interest                        Praxair to Stephen
                                                          Hoffpauir of Juniper
                                                          "RE: Settlement
                                                          Regarding Costs
                                                          Incurred by [Juniper]
                                                          Associated with the
                                                          Hydrogen Valve
                                                          Change and Product
                                                          Supply Agreement ?"
                  State the term remaining                                             Praxair, Inc.
                                                                                       P.O. Box 1986
             List the contract number of any                                           10 Riverview Drive
                   government contract                                                 Danbury, CT 06810-1986


 2.301.      State what the contract or                   Temporary Access
             lease is for and the nature of               Agreement*
             the debtor's interest

                  State the term remaining                                             Praxair, Inc.
                                                                                       P.O. Box 1986
             List the contract number of any                                           10 Riverview Drive
                   government contract                                                 Danbury, CT 06810-1986


 2.302.      State what the contract or                   Plant Sale Agreement
             lease is for and the nature of
             the debtor's interest                                                     Praxair, Inc.
                                                                                       P.O. Box 1986
                  State the term remaining                N/A                          10 Riverview Drive
                                                                                       Danbury, CT 06810-1986
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

             List the contract number of any
                   government contract


 2.303.      State what the contract or                   Pipeline Hydrogen
             lease is for and the nature of               Supply Agreement
             the debtor's interest

                  State the term remaining                                               Praxair, Inc.
                                                                                         P.O. Box 1986
             List the contract number of any                                             10 Riverview Drive
                   government contract                                                   Danbury, CT 06810-1986


 2.304.      State what the contract or                   Product Supply
             lease is for and the nature of               Agreement (nitrogen)
             the debtor's interest

                  State the term remaining                Basic term (7 years
                                                          after First Delivery and
                                                          will renew unless              Praxair, Inc.
                                                          notice provided.               P.O. Box 1986
             List the contract number of any                                             10 Riverview Drive
                   government contract                                                   Danbury, CT 06810-1986


 2.305.      State what the contract or                   Product Rider
             lease is for and the nature of               (nitrogen)
             the debtor's interest

                  State the term remaining                See product supply             Praxair, Inc.
                                                          agreement.                     P.O. Box 1986
             List the contract number of any                                             10 Riverview Drive
                   government contract                                                   Danbury, CT 06810-1986


 2.306.      State what the contract or                   Commissioning
             lease is for and the nature of               Services Agreement
             the debtor's interest

                  State the term remaining                Later of (1) Dec. 31,
                                                          2014; (2) date Final
                                                          Payment is due and
                                                          payable; (3) cancelled         Praxair, Inc.
                                                          by Juniper.                    P.O. Box 1986
             List the contract number of any                                             10 Riverview Drive
                   government contract                                                   Danbury, CT 06810-1986


 2.307.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                               Praxair, Inc.
                                                                                         P.O. Box 1986
             List the contract number of any                                             10 Riverview Drive
                   government contract                                                   Danbury, CT 06810-1986
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 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease



 2.308.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                            Praxair, Inc.
                                                                                      P.O. Box 1986
             List the contract number of any                                          10 Riverview Drive
                   government contract                                                Danbury, CT 06810-1986


 2.309.      State what the contract or                   Consulting Services
             lease is for and the nature of               Terms and Conditions*
             the debtor's interest

                  State the term remaining                                            Primatech, Inc.
                                                                                      11111 Katy Freeway
             List the contract number of any                                          Suite 910
                   government contract                                                Houston, TX 77079


 2.310.      State what the contract or                   PAD for PO 10024
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                            Primatech, Inc.
                                                                                      11111 Katy Freeway
             List the contract number of any                                          Suite 910
                   government contract                                                Houston, TX 77079


 2.311.      State what the contract or                   PAD for PO 10024 Rev
             lease is for and the nature of               2
             the debtor's interest

                  State the term remaining                                            Primatech, Inc.
                                                                                      11111 Katy Freeway
             List the contract number of any                                          Suite 910
                   government contract                                                Houston, TX 77079


 2.312.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining

             List the contract number of any                                          Prime Controls LP
                   government contract


 2.313.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest
                                                                                      Prime Controls LP
                  State the term remaining
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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease


             List the contract number of any
                   government contract


 2.314.      State what the contract or                   Master Services
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining                3 years after the          Pro Trans Logistics Inc.
                                                          Effective Date.            1256 Greens Pkwy
             List the contract number of any                                         #100
                   government contract                                               Houston, TX 77067


 2.315.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           Process Technical Services, Inc
                                                                                     14550 Torrey Chase Blvd
             List the contract number of any                                         #220
                   government contract                                               Houston, TX 77014


 2.316.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Providence Engineering & Environmental
             List the contract number of any                                         1201 Main Street
                   government contract                                               Baton Rouge, LA 70802


 2.317.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Providence Engineering & Environmental
             List the contract number of any                                         1201 Main Street
                   government contract                                               Baton Rouge, LA 70802


 2.318.      State what the contract or                   Master Service
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining
                                                                                     Pyramid Instrumentation & Electric Corp.
             List the contract number of any                                         5090 Richmond Ave.
                   government contract                                               Houston, TX 77056




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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.319.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Quadax Valves Inc
             List the contract number of any                                         1518 Grundy's Lane
                   government contract                                               Bristol, PA 19007


 2.320.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Rawson Inc
             List the contract number of any                                         P.O. Box 924288
                   government contract                                               Houston, TX 77292


 2.321.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Rawson Inc
             List the contract number of any                                         P.O. Box 924288
                   government contract                                               Houston, TX 77292


 2.322.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Rawson Inc
             List the contract number of any                                         P.O. Box 924288
                   government contract                                               Houston, TX 77292


 2.323.      State what the contract or                   Product Sale and
             lease is for and the nature of               Purchase Contract
             the debtor's interest

                  State the term remaining                ???
                                                                                     RB Products, Inc.
             List the contract number of any                                         740 Bradfield Rd
                   government contract                                               Houston, TX 77060


 2.324.      State what the contract or                   Offtake Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Primary term from          RB Products, Inc.
                                                          Commencement Date          740 Bradfield Rd
                                                          to 2021-03-14              Houston, TX 77060
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 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

             List the contract number of any
                   government contract


 2.325.      State what the contract or                   Master Service
             lease is for and the nature of               Agreement between
             the debtor's interest                        ReCon Management
                                                          Services, Inc. and RD
                                                          Juniper LLC dated
                                                          December 9, 2016
                  State the term remaining
                                                                                      ReCon Management Services, Inc.
             List the contract number of any                                          1907 Ruth Street
                   government contract                                                Sulphur, LA 70663


 2.326.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      ReCon Management Services, Inc.
             List the contract number of any                                          1907 Ruth Street
                   government contract                                                Sulphur, LA 70663


 2.327.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      ReCon Management Services, Inc.
             List the contract number of any                                          1907 Ruth Street
                   government contract                                                Sulphur, LA 70663


 2.328.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      ReCon Management Services, Inc.
             List the contract number of any                                          1907 Ruth Street
                   government contract                                                Sulphur, LA 70663


 2.329.      State what the contract or                   Business Associate
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining                Not stated.                 Regions Insurance, Inc.
                                                                                      6000 Poplar Ave.
             List the contract number of any                                          Suite 300
                   government contract                                                Memphis, TN 38119




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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.330.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Rentech Boiler Systems Inc..
             List the contract number of any                                         5025A E. Business 20
                   government contract                                               Abilene, TX 79601


 2.331.      State what the contract or                   Equipment Terms
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Indefinite.
                                                                                     Revak Engineering, Inc.
             List the contract number of any                                         20 Bay Harbor
                   government contract                                               La Porte, TX 77571


 2.332.      State what the contract or                   PAD for PO 10001
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Revak Engineering, Inc.
             List the contract number of any                                         20 Bay Harbor
                   government contract                                               La Porte, TX 77571


 2.333.      State what the contract or                   PAD for PO 968 Rev 1
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Revak Engineering, Inc.
             List the contract number of any                                         20 Bay Harbor
                   government contract                                               La Porte, TX 77571


 2.334.      State what the contract or                   Forbearance
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining                Termination upon
                                                          stated events.             Revak Engineering, Inc.
             List the contract number of any                                         20 Bay Harbor
                   government contract                                               La Porte, TX 77571


 2.335.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           Revak Keene Turbomachinery LP
                                                                                     20 Bay Harbor Dr.
             List the contract number of any                                         La Porte, TX 77571
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 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

                    government contract


 2.336.      State what the contract or                   Engineering,
             lease is for and the nature of               Procurement and
             the debtor's interest                        Construction Contract
                                                          [EPC]
                  State the term remaining                Indefinite
                                                                                      Richard Design Services, Inc.
             List the contract number of any                                          750 Pearl Street
                   government contract                                                Beaumont, TX 77701


 2.337.      State what the contract or                   First Amendment to
             lease is for and the nature of               Engineering,
             the debtor's interest                        Procurement and
                                                          Construction Contract
                  State the term remaining                See EPC.
                                                                                      Richard Design Services, Inc.
             List the contract number of any                                          750 Pearl Street
                   government contract                                                Beaumont, TX 77701


 2.338.      State what the contract or                   PAD for PO 902
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      Richard Design Services, Inc.
             List the contract number of any                                          750 Pearl Street
                   government contract                                                Beaumont, TX 77701


 2.339.      State what the contract or                   PAD for PO 902 Rev 1
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      Richard Design Services, Inc.
             List the contract number of any                                          750 Pearl Street
                   government contract                                                Beaumont, TX 77701


 2.340.      State what the contract or                   Service Release No. 1
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      Richard Design Services, Inc.
             List the contract number of any                                          750 Pearl Street
                   government contract                                                Beaumont, TX 77701


 2.341.      State what the contract or                   PAD for PO 902 Rev 2
             lease is for and the nature of                                           Richard Design Services, Inc.
             the debtor's interest                                                    750 Pearl Street
                                                                                      Beaumont, TX 77701
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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.342.      State what the contract or                   PAD for PO 902 Rev 3
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Richard Design Services, Inc.
             List the contract number of any                                         750 Pearl Street
                   government contract                                               Beaumont, TX 77701


 2.343.      State what the contract or                   PAD for PO 902 Rev 4
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Richard Design Services, Inc.
             List the contract number of any                                         750 Pearl Street
                   government contract                                               Beaumont, TX 77701


 2.344.      State what the contract or                   PAD for PO 902 Rev 5
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Richard Design Services, Inc.
             List the contract number of any                                         750 Pearl Street
                   government contract                                               Beaumont, TX 77701


 2.345.      State what the contract or                   PAD for PO 10091
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Richard Design Services, Inc.
             List the contract number of any                                         750 Pearl Street
                   government contract                                               Beaumont, TX 77701


 2.346.      State what the contract or                   Services Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Richard Nelson
             List the contract number of any                                         809 Kansas Street
                   government contract                                               Carol Stream, IL 60188




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 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.347.      State what the contract or                   Services T&Cs*
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      Rivers Fence Co., Inc.
             List the contract number of any                                          5120 US-90
                   government contract                                                Lake Charles, LA 70615


 2.348.      State what the contract or                   Consulting Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      Roger Thompson
             List the contract number of any                                          12630 Ranger Ct
                   government contract                                                Magnolia, TX 77354


 2.349.      State what the contract or                   Engineered Equipment
             lease is for and the nature of               Terms and Conditions*
             the debtor's interest

                  State the term remaining
                                                                                      Rosemount Inc
             List the contract number of any                                          8200 Market Blvd
                   government contract                                                Chanhassen, MN 55317


 2.350.      State what the contract or                   PAD for PO 10142
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      Rosemount Inc
             List the contract number of any                                          8200 Market Blvd
                   government contract                                                Chanhassen, MN 55317


 2.351.      State what the contract or                   PAD for PO 10161
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      Rosemount Inc
             List the contract number of any                                          8200 Market Blvd
                   government contract                                                Chanhassen, MN 55317


 2.352.      State what the contract or                   PAD for PO 10161 Rev
             lease is for and the nature of               1
             the debtor's interest

                  State the term remaining                                            Rosemount Inc
                                                                                      8200 Market Blvd
             List the contract number of any                                          Chanhassen, MN 55317
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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.353.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Rosemount Inc
             List the contract number of any                                         8200 Market Blvd
                   government contract                                               Chanhassen, MN 55317


 2.354.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Rural/ Metro Fire Dept., Inc.
             List the contract number of any                                         65 N. Pima Rd.
                   government contract                                               Scottsdale, AZ 85258


 2.355.      State what the contract or                   Industrial Water Sale
             lease is for and the nature of               Agreement between
             the debtor's interest                        Sabine River Authority,
                                                          State of Louisiana and
                                                          Juniper Specialty
                                                          Products LLC dated
                                                          Dec. 4, 2018
                  State the term remaining                                           Sabine River Authority
                                                                                     Executive Director
             List the contract number of any                                         15091 Texas Highway
                   government contract                                               Many, LA 71449


 2.356.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Sabine River Authority of LA
             List the contract number of any                                         15091 Texas Hwy
                   government contract                                               Many, LA 71449


 2.357.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Safety Concepts LLC
             List the contract number of any                                         2849 Bergstedt Rd
                   government contract                                               Sulphur, LA 70665




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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.358.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Safety Controls, Inc
             List the contract number of any                                         P.O. Box 61280
                   government contract                                               Lafayette, LA 70596


 2.359.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Safety Controls, Inc
             List the contract number of any                                         P.O. Box 61280
                   government contract                                               Lafayette, LA 70596


 2.360.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Safety Controls, Inc
             List the contract number of any                                         P.O. Box 61280
                   government contract                                               Lafayette, LA 70596


 2.361.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Satellite Shelters, Inc. - Houston
             List the contract number of any                                         18500 Van Rd.
                   government contract                                               Houston, TX 77049


 2.362.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Schneider Electric IT USA, Inc. DBA Guto
             List the contract number of any                                         132 Fairgrounds Road
                   government contract                                               West Kingston, RI 02892


 2.363.      State what the contract or                   Product Sale and
             lease is for and the nature of               Purchase Contract
             the debtor's interest
                                                                                     Schumann/Steier Inc. (SSI)
                  State the term remaining                Primary term is 72         2000 West Loop South
                                                          months after               Suite 2100
                                                          Commencement Date.         Houston, TX 77027
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

             List the contract number of any
                   government contract


 2.364.      State what the contract or                   Offtake Agreement -
             lease is for and the nature of               Amendment
             the debtor's interest

                  State the term remaining                Primary term is 72
                                                          months after               Schumann/Steier Inc. (SSI)
                                                          Commencement Date.         2000 West Loop South
             List the contract number of any                                         Suite 2100
                   government contract                                               Houston, TX 77027


 2.365.      State what the contract or                   Equipment Terms*
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Schutte & Koerting Acquisition Company /
             List the contract number of any                                         2510 Metropolitan Drive
                   government contract                                               Trevose, PA 19053


 2.366.      State what the contract or                   PO 10099
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Schutte & Koerting Acquisition Company /
             List the contract number of any                                         2510 Metropolitan Drive
                   government contract                                               Trevose, PA 19053


 2.367.      State what the contract or                   Security Services
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining                Until terminated in
                                                          writing.                   Securitas Security Services USA, Inc
             List the contract number of any                                         751 E. Bayou Pines
                   government contract                                               Lake Charles, LA 70601


 2.368.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Setpoint Integrated Solutions, Inc.
             List the contract number of any                                         19011 Highland Rd
                   government contract                                               Baton Rouge, LA 70809




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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.369.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Setpoint Integrated Solutions, Inc.
             List the contract number of any                                         19011 Highland Rd
                   government contract                                               Baton Rouge, LA 70809


 2.370.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Setpoint Integrated Solutions, Inc.
             List the contract number of any                                         19011 Highland Rd
                   government contract                                               Baton Rouge, LA 70809


 2.371.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Setpoint Integrated Solutions, Inc.
             List the contract number of any                                         19011 Highland Rd
                   government contract                                               Baton Rouge, LA 70809


 2.372.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Setpoint Integrated Solutions, Inc.
             List the contract number of any                                         19011 Highland Rd
                   government contract                                               Baton Rouge, LA 70809


 2.373.      State what the contract or                   Support Services
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining                Until 2016-03-31, unless   SGC Energia Co LLC
                                                          extended.                  c/o York Capital Management
             List the contract number of any                                         767 Fifth Ave., 17th Floor
                   government contract                                               New York, NY 10153


 2.374.      State what the contract or                   Services and Supply
             lease is for and the nature of               Agreement
             the debtor's interest
                                                                                     SGC Energia Co LLC
                  State the term remaining                1 year.                    c/o York Capital Management
                                                                                     767 Fifth Ave., 17th Floor
             List the contract number of any                                         New York, NY 10153
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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.375.      State what the contract or                   XTLH License, Supply
             lease is for and the nature of               and Services
             the debtor's interest                        Agreement

                  State the term remaining                                           SGC Energia Co LLC
                                                                                     c/o York Capital Management
             List the contract number of any                                         767 Fifth Ave., 17th Floor
                   government contract                                               New York, NY 10153


 2.376.      State what the contract or                   Master Secondment
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining                1 year with right to       SGC Energia Co LLC
                                                          extend.                    c/o York Capital Management
             List the contract number of any                                         767 Fifth Ave., 17th Floor
                   government contract                                               New York, NY 10153


 2.377.      State what the contract or                   Amendment to the
             lease is for and the nature of               XTLH Solution License,
             the debtor's interest                        Supply and Services
                                                          Agreement                  SGC Energia S.A.
                  State the term remaining                See XTLH License.          Estrada de Alfragide
                                                                                     67-Alfrapark - Edificio SGC
             List the contract number of any                                         Amadora, Portugal
                   government contract


 2.378.      State what the contract or                   Support Services
             lease is for and the nature of               Agreement between
             the debtor's interest                        SGCE Energia Co LLC
                                                          and RD Juniper LLC
                  State the term remaining
                                                                                     SGCE Energia Co LLC
             List the contract number of any                                         120 N. Munger St.
                   government contract                                               Pasadena, TX 77506


 2.379.      State what the contract or                   Support Services
             lease is for and the nature of               Agreement dated April
             the debtor's interest                        1, 2018 with SGCE LLC.
                                                          Includes lease of part
                                                          of premises at 120 N.
                                                          Munger, as well as
                                                          support services
                  State the term remaining
                                                                                     SGCE LLC
             List the contract number of any                                         120 N. Munger St
                   government contract                                               Pasadena, TX 77506




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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.380.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           Shanghai Incha Trading Company
                                                                                     9565 Hu Qing Ping Road
             List the contract number of any                                         Rm 1416, Sect D
                   government contract                                               Level 1, Bldg 1, Shanghai China


 2.381.      State what the contract or                   Terms and Conditions
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Indefinite
                                                                                     Smith Tank & Equipment Company
             List the contract number of any                                         9887 US-271
                   government contract                                               Tyler, TX 75708


 2.382.      State what the contract or                   PAD for PO 10052
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Smith Tank & Equipment Company
             List the contract number of any                                         9887 US-271
                   government contract                                               Tyler, TX 75708


 2.383.      State what the contract or                   Terms and Conditions
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Indefinite.
                                                                                     Smithco Engineering
             List the contract number of any                                         9660 Grumwald Road
                   government contract                                               Beasley, TX 77417


 2.384.      State what the contract or                   Terms and Conditions
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Indefinite.
                                                                                     SPX Cooling Technologies, Inc.
             List the contract number of any                                         191 Highway 98 West
                   government contract                                               Tylertown, MS 39667


 2.385.      State what the contract or                   PAD for PO 10106
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           SPX Cooling Technologies, Inc.
                                                                                     191 Highway 98 West
             List the contract number of any                                         Tylertown, MS 39667
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.386.      State what the contract or                   PAD for PO 10106 Rev
             lease is for and the nature of               1
             the debtor's interest

                  State the term remaining
                                                                                     SPX Cooling Technologies, Inc.
             List the contract number of any                                         191 Highway 98 West
                   government contract                                               Tylertown, MS 39667


 2.387.      State what the contract or                   PAD for PO 10106 Rev
             lease is for and the nature of               2
             the debtor's interest

                  State the term remaining
                                                                                     SPX Cooling Technologies, Inc.
             List the contract number of any                                         191 Highway 98 West
                   government contract                                               Tylertown, MS 39667


 2.388.      State what the contract or                   Equipment Terms
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Indefinite                 SteelTek, Inc.
                                                                                     Attn: Linsay Carter
             List the contract number of any                                         4141 S. Jackson Ave.
                   government contract                                               Tulsa, OK 74107


 2.389.      State what the contract or                   PAD for PO 10034
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Steeltek, Inc.
             List the contract number of any                                         4141 South Jackson
                   government contract                                               Tulsa, OK 74107


 2.390.      State what the contract or                   PAD for PO 10034 Rev
             lease is for and the nature of               1
             the debtor's interest

                  State the term remaining
                                                                                     Steeltek, Inc.
             List the contract number of any                                         4141 South Jackson
                   government contract                                               Tulsa, OK 74107


 2.391.      State what the contract or                   PAD for PO 10058
             lease is for and the nature of                                          Steeltek, Inc.
             the debtor's interest                                                   4141 South Jackson
                                                                                     Tulsa, OK 74107
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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.392.      State what the contract or                   PAD for PO 10058 Rev
             lease is for and the nature of               1
             the debtor's interest

                  State the term remaining
                                                                                     Steeltek, Inc.
             List the contract number of any                                         4141 South Jackson
                   government contract                                               Tulsa, OK 74107


 2.393.      State what the contract or                   PAD for PO 10034 Rev
             lease is for and the nature of               2
             the debtor's interest

                  State the term remaining
                                                                                     Steeltek, Inc.
             List the contract number of any                                         4141 South Jackson
                   government contract                                               Tulsa, OK 74107


 2.394.      State what the contract or                   Research Agreement
             lease is for and the nature of               between Stellenbosch
             the debtor's interest                        University and RD
                                                          Juniper LLC                Stellenbosch University
                  State the term remaining                                           Private Bag X1, Matieland,
                                                                                     Stellenbosch, 7602,
             List the contract number of any                                         South Africa
                   government contract


 2.395.      State what the contract or                   Consulting Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Stephen Jones
             List the contract number of any                                         3222 Rustic Villa
                   government contract                                               Kingwood, TX 77345


 2.396.      State what the contract or                   Terminal Services
             lease is for and the nature of               Agreement between
             the debtor's interest                        Stolthaven New
                                                          Orleans LLC and
                                                          Juniper Specialty
                                                          Products LLC dated
                                                          July 20, 2018
                  State the term remaining
                                                                                     Stolthaven New Orleans LLC
             List the contract number of any                                         2444 English Turn Road
                   government contract                                               Braithwaite, LA 70040
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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease



 2.397.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Stolthaven New Orleans LLC
             List the contract number of any                                         2444 English Turn Road
                   government contract                                               Braithwaite, LA 70040


 2.398.      State what the contract or                   Equipment Terms*
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Sulzer Chemtech USA, Inc.
             List the contract number of any                                         106 New W Dr.
                   government contract                                               Pasadena, TX 77507


 2.399.      State what the contract or                   PAD for PO 10114
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Sulzer Chemtech USA, Inc.
             List the contract number of any                                         106 New W Dr.
                   government contract                                               Pasadena, TX 77507


 2.400.      State what the contract or                   Equipment Terms
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Sundyne Corporation c/o Oliver Equipment
             List the contract number of any                                         4620 Brittmoore Rd.
                   government contract                                               Houston, TX 77041-1000


 2.401.      State what the contract or                   PAD for PO 10008 Rev
             lease is for and the nature of               1
             the debtor's interest

                  State the term remaining
                                                                                     Sundyne Corporation c/o Oliver Equipment
             List the contract number of any                                         4620 Brittmoore Rd.
                   government contract                                               Houston, TX 77041-1000


 2.402.      State what the contract or                   PAD for PO 10053
             lease is for and the nature of
             the debtor's interest                                                   Sundyne Corporation c/o Oliver Equipment
                                                                                     4620 Brittmoore Rd.
                  State the term remaining                                           Houston, TX 77041-1000
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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease


             List the contract number of any
                   government contract


 2.403.      State what the contract or                   PAD for PO 10053 Rev
             lease is for and the nature of               1
             the debtor's interest

                  State the term remaining
                                                                                     Sundyne Corporation c/o Oliver Equipment
             List the contract number of any                                         4620 Brittmoore Rd.
                   government contract                                               Houston, TX 77041-1000


 2.404.      State what the contract or                   PAD for PO 10008 Rev
             lease is for and the nature of               2
             the debtor's interest

                  State the term remaining
                                                                                     Sundyne Corporation c/o Oliver Equipment
             List the contract number of any                                         4620 Brittmoore Rd.
                   government contract                                               Houston, TX 77041-1000


 2.405.      State what the contract or                   Engineered Equipment
             lease is for and the nature of               Terms and Conditions
             the debtor's interest                        re: PO 10008

                  State the term remaining
                                                                                     Sundyne Corporation c/o Oliver Equipment
             List the contract number of any                                         4620 Brittmoore Rd.
                   government contract                                               Houston, TX 77041-1000


 2.406.      State what the contract or                   Natural Gas Supply
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining                11/30/2019
                                                                                     Targa Midstream Services LLC
             List the contract number of any                                         811 Louisiana St.
                   government contract                                               Houston, TX 77002


 2.407.      State what the contract or                   Reimbursement
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining                Indefinite
                                                                                     Targa Midstream Services LLC
             List the contract number of any                                         811 Louisiana St.
                   government contract                                               Houston, TX 77002




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 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.408.      State what the contract or                   First Amendment to
             lease is for and the nature of               Natural Gas Supply
             the debtor's interest                        Agreement

                  State the term remaining                See Natural Gas Supply
                                                          Agreement.                   Targa Midstream Services LLC
             List the contract number of any                                           811 Louisiana St.
                   government contract                                                 Houston, TX 77002


 2.409.      State what the contract or                   Purchase order general
             lease is for and the nature of               terms and conditions
             the debtor's interest

                  State the term remaining
                                                                                       TB Jones LLC
             List the contract number of any                                           1025 Ashland
                   government contract                                                 Channelview, TX 77530


 2.410.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                       Team Industrial Services, Inc.
             List the contract number of any                                           215 N Beglis Parkway
                   government contract                                                 Sulphur, LA 70663


 2.411.      State what the contract or                   Master Service
             lease is for and the nature of               Agreement between
             the debtor's interest                        Tellepsen Industrials,
                                                          LLC and RD Juniper
                                                          LLC
                  State the term remaining
                                                                                       Tellepsen Industrials, LLC
             List the contract number of any                                           3508 East Pasadena Parkway
                   government contract                                                 Pasadena, TX 77503


 2.412.      State what the contract or                   Consulting Agreement
             lease is for and the nature of               between Terry Russell
             the debtor's interest                        and RD Juniper LLC

                  State the term remaining
                                                                                       Terry Russell
             List the contract number of any                                           PO Box 1009
                   government contract                                                 Buchanan Dam, TX 78609


 2.413.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest
                                                                                       Testengeer, Inc.
                  State the term remaining                                             PO Box 557
                                                                                       Port Lavaca, TX 77979
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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

             List the contract number of any
                   government contract


 2.414.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Testengeer, Inc.
             List the contract number of any                                         PO Box 557
                   government contract                                               Port Lavaca, TX 77979


 2.415.      State what the contract or                   Terms and Conditions
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Indefinite.
                                                                                     Thermal Engineering International (TEI)
             List the contract number of any                                         10375 Slusher Drive
                   government contract                                               Santa Fe Springs, CA 90670


 2.416.      State what the contract or                   Consulting Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Tiffany Calderon
             List the contract number of any                                         4259 Armand View Dr
                   government contract                                               Pasadena, TX 77505


 2.417.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Total Plant Management Group Inc
             List the contract number of any                                         6919 Mayard
                   government contract                                               Houston, TX 77041


 2.418.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Total Plant Management Group Inc
             List the contract number of any                                         6919 Mayard
                   government contract                                               Houston, TX 77041




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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.419.      State what the contract or                   Master Services
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining
                                                                                     Triad Electric & Controls, Inc.
             List the contract number of any                                         1721 W 13th St.
                   government contract                                               Deer Park, TX 77536


 2.420.      State what the contract or                   Master Services
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining
                                                                                     Triad Electric & Controls, Inc.
             List the contract number of any                                         1721 W 13th St.
                   government contract                                               Deer Park, TX 77536


 2.421.      State what the contract or                   Equipment Terms and
             lease is for and the nature of               Conditions
             the debtor's interest

                  State the term remaining                Indefinite.
                                                                                     U.S. Metals, Inc.
             List the contract number of any                                         19102 Grundle Rd.
                   government contract                                               Houston, TX 77073


 2.422.      State what the contract or                   PAD for PO 10164
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     U.S. Metals, Inc.
             List the contract number of any                                         19102 Grundle Rd.
                   government contract                                               Houston, TX 77073


 2.423.      State what the contract or                   PAD for PO 10170
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     U.S. Metals, Inc.
             List the contract number of any                                         19102 Grundle Rd.
                   government contract                                               Houston, TX 77073


 2.424.      State what the contract or                   PAD for PO 10164 Rev
             lease is for and the nature of               1
             the debtor's interest

                  State the term remaining                                           U.S. Metals, Inc.
                                                                                     19102 Grundle Rd.
             List the contract number of any                                         Houston, TX 77073
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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.425.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     United Office Supply & Equipment Co, Inc
             List the contract number of any                                         4005 Maplewood Dr.
                   government contract                                               Sulphur, LA 70663


 2.426.      State what the contract or                   Equipment Terms*
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           Universal Acoustic & Emission Technologi
                                                                                     P.O. Box 411
             List the contract number of any                                         1925 Highway 51-138
                   government contract                                               Mc Farland, WI 53558-9000


 2.427.      State what the contract or                   PAD for PO 10088
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           Universal Acoustic & Emission Technologi
                                                                                     P.O. Box 411
             List the contract number of any                                         1925 Highway 51-138
                   government contract                                               Mc Farland, WI 53558-9000


 2.428.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           University of Stellenbosch
                                                                                     Private Bag X1
             List the contract number of any                                         Matieland
                   government contract                                               7602 South Africa


 2.429.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Vanec
             List the contract number of any                                         3331 N. Interstate-35
                   government contract                                               Gainesville, TX 76240


 2.430.      State what the contract or                   Master Services
             lease is for and the nature of               Agreement                  Versa Integrity Group, Inc.
             the debtor's interest                                                   4301 Highway 27 South
                                                                                     Sulphur, LA 70665
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 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

                  State the term remaining                5 years from Effective
                                                          Date.
             List the contract number of any
                   government contract


 2.431.      State what the contract or                   Services Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                       Waste Management of Lake Charles
             List the contract number of any                                           P.O. Box 55558
                   government contract                                                 Boston, MA 02205


 2.432.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                       Waste Management of Lake Charles
             List the contract number of any                                           P.O. Box 55558
                   government contract                                                 Boston, MA 02205


 2.433.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                       Waste Management of Lake Charles
             List the contract number of any                                           P.O. Box 55558
                   government contract                                                 Boston, MA 02205


 2.434.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                       Wastewater Specialties, Inc.
             List the contract number of any                                           2205 Industrial Drive
                   government contract                                                 Sulphur, LA 70665


 2.435.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                       Wayne Wicks Security Advisors, Inc.
             List the contract number of any                                           110 N. Broadway
                   government contract                                                 LaPorte, TX 77571




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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.436.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Weiser Security Services, Inc.
             List the contract number of any                                         3939 Tulane Avenue
                   government contract                                               New Orleans, LA 70119


 2.437.      State what the contract or                   Master Service
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining                                           Weld Spec Inc.
                                                                                     Attn: Rick Hardy
             List the contract number of any                                         3314 Highway 69 South
                   government contract                                               Lumberton, TX 77657


 2.438.      State what the contract or                   Consulting Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Wendy Harper Consulting
             List the contract number of any                                         3766 Gray Market Drive
                   government contract                                               Lake Charles, LA 70605-5000


 2.439.      State what the contract or                   Engineered Equipment
             lease is for and the nature of               Terms and Conditions
             the debtor's interest

                  State the term remaining                Indefinite.                Wesco Distribution, Inc.
                                                                                     225 West Station Square Drive
             List the contract number of any                                         Suite 700
                   government contract                                               Pittsburgh, PA 15219


 2.440.      State what the contract or                   Engineered Equipment
             lease is for and the nature of               Terms and Conditions
             the debtor's interest

                  State the term remaining                Indefinite.
                                                                                     Wholesale Electric Supply Co.
             List the contract number of any                                         2916 E. Napoleon Street
                   government contract                                               Sulphur, LA 70663




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 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.441.      State what the contract or                   XTLH Solution License
             lease is for and the nature of               Supply and Services
             the debtor's interest                        Agreement.
                                                          Agreement's term ends
                                                          20 years after
                                                          Acceptance.
                                                          ("Acceptance" is after
                                                          plant, which is under
                                                          construction, is
                                                          completed).
                  State the term remaining

             List the contract number of any                                         XTLH Solution License Supply
                   government contract


 2.442.      State what the contract or                   Yokogawa standard
             lease is for and the nature of               terms and conditions
             the debtor's interest

                  State the term remaining                Indefinite.
                                                                                     Yokogawa Corporation of America
             List the contract number of any                                         1320 West Airport Blvd.
                   government contract                                               Sugar Land, TX 77478


 2.443.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Yokogawa Corporation of America
             List the contract number of any                                         1320 West Airport Blvd.
                   government contract                                               Sugar Land, TX 77478


 2.444.      State what the contract or                   Purchase Order
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Yokogawa Corporation of America
             List the contract number of any                                         1320 West Airport Blvd.
                   government contract                                               Sugar Land, TX 77478


 2.445.      State what the contract or                   Consulting Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Yolanda Howe
             List the contract number of any                                         273 Dove Meadow Drive
                   government contract                                               Conroe, TX 77384




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                 Page 81 of 81
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 Fill in this information to identify the case:

 Debtor name         Juniper Specialty Products LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF TEXAS

 Case number (if known)         20-33109
                                                                                                                              Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

  No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
  Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                           Check all schedules
                                                                                                                                that apply:
    2.1                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                  State      Zip Code


    2.2                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                  State      Zip Code


    2.3                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                  State      Zip Code


    2.4                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                  State      Zip Code




Official Form 206H                                                           Schedule H: Your Codebtors                                      Page 1 of 1
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